Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

B 25C (Official Form 25C) (12/08)

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

Inte Prime Six inc.;.d/b/a Woodland NYC : Case No. 117-40104-CEC

Debtor
Small Business Case under Chapter 1]

SMALL BUSINESS MONTHLY OPERATING REPORT

Month: May 2017 a Date filed: 07/19/2017

Line of Business: RESTAURANT & BAR NAISC Code: 722511

 

 

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF
PERJURY THAT I HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE
ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,
CORRECT AND COMPLETE, Le

ao
RESPONSIBLE PARTY;

i a

Original Signature of Responsible Party

 

Akiva Ofshtein

 

Printed Name of Responsible Party

12, HAS THE BUSINESS SOLD ANY GOODS OR PROVIDED SERVICES OR TRANSFERRED ANY
ASSETS TO ANY BUSINESS RELATED TO THE DIP IN ANY WAY?

13. DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?

Questionnaire: (A/ questions to be answered on behalf of the debtor) Yes No
1, IS THE BUSINESS STILL OPERATING? w oO
2, HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH? wi oi
3. DID YOU-PAY YOUR EMPLOYEES ON TIME? wi Cj
4. HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO THE DIP ACCOUNT te] OQ
THIS MONTH?
5. HAVE YOU FILED ALL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES THIS Ww oj
MONTH
6. HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS? wi ol
7. HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH? Wi Cy
8. DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH? wi Cj
9, ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE U.S. TRUSTEE? wi Oo
10, HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS co 74]
MONTH?
li, DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS (9 i
MONTH?
o @
Cl a
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

B 25C (Official Form 25C) (12/08)

14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?

15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?

16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?

17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?

18. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?

TAXES

DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX

OBLIGATIONS?

IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR

THE PAYMENT.
(Exhibit A)

INCOME

PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE

MAY WAIVE THIS REQUIREMENT.)

TOTAL INCOME

SUMMARY OF CASH ON HAND
Cash on Hand at Start of Month
Cash on Hand at End of Month
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU TOTAL

(Exhibit B)

EXPENSES

PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

(Exhibit C)

CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C)
(Subtract Line C from Line B)

TOTAL EXPENSES

CASH PROFIT FOR THE MONTH

$

PF A

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Page 2

HAASE A

342,876.31

-24 832.73

6,593.78

6,593.78

341,718.88

342,876.31
341,718.88

1,157.43
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

Page 3

B 25C (Official Form 25C) (12/08)
UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

TOTAL PAYABLES $ 0.00
(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)

TOTAL RECEIVABLES $ 0.00

(Exhibit E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.

(Exhibit F)
EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED? 46
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT? 73

PROFESSIONAL FEES
BANKRUPTCY RELATED;

PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD? $ 0.00

TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING
OF THE CASE? $ 0.00

NON-BANKRUPTCY RELATED:

PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD? $ 0.00

TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE? $ 0.00
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

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B 25C (Official Form 25C) (12/08)

PROJECTIONS

COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

 

Projected Actual Difference
INCOME $ 1,650,000.00 $ 1,584,190.69 $ ee -65,809.31
EXPENSES $ 1,452,000.00 $ 1,726,314.55 $ 274,314.55
CASHPROFIT $ 198,000.00 $_ 142,123.86 $ = -340,123.86
TOTAL PROJECTED INCOME FOR THE NEXT MONTH: $ 330,000.00
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH: $ 345 ,000.00
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH: $ 5,000.00

ADDITIONAL INFORMATION

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

 

 

2:06 PM Prime Six Inc DBA Woodland 2017
07/20/17 Profit & Loss
Accrual Basis June 2017
Jun 17
Ordinary Income/Expense
Income
Sales 342,876.31
Total Income 342,876.31
Cost of Goods Sold
BAR
Beer
Joyce Beer Gas 525.00
Manhattan Beer §,288.28
SKI Beer Corp 144.99
Union Beer 579.60
Total Beer 6,537.87
Beverage
Multi-Flow 3,461.37
Total Beverage 3,461.37
Hard Liquor
Empire Merchants 25,317.64
Southern Wine and Spirit Liquor 11,256.93
Total Hard Liquor 36,574.57
Wine 9,186.75
Total BAR 55,760.56
Food Purchases
Bindi 1,370.56
Eli's Bread 1,272.00
Golden Malted 1,600.00
Jetro 40,892.98
Orel 8,358.00
Out of the Blue Seafood 1,080.00
Pat La Frieda 6,558.20
Seafood
Wallabout 1,500.00
Total Seafood 1,500.00
Food Purchases - Other §,245.11
Total Food Purchases - 67,876.85
Total COGS 123,637.41
Gross Profit 219,238.90
Expense
Bank Service Charges 317.49
Cleaning
Auto Chlor 892.18
Porter 3,500.00
Cleaning - Other 272.03
Total Cleaning 4,664.21
DJ Services 1,850.00
Fire Code 840.00
Garbage 1,045.20

Page 1
Unaudited Statement
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

2:06 PM

07/20/17
Accrual Basis

Prime Six Inc DBA Woodland 2017

Profit & Loss

June 2017

 

Insurance Expense
Disability Insurance
Insurance Expense - Other

Total Insurance Expense
Linen

Managment Expense
Merchant account Fee
Outside Labor 1099
Charly- DJ
Event Planing

Total Outside Labor 1099

Payroll Expenses
FOH
Taxes
Wages
Overtime
Wages - Other

Total Wages
Payroll Expenses - Other
Total Payroll Expenses

Professional Fees
ADP Weekly Payroll Charge

Total Professional Fees

Rent Expense
Office Rent
Rent Expense - Other

Total Rent Expense
Repairs and Maintenance
Restaurant Supplies
Security Company
Utilities

ConEd

Time Warner Cable
Utilities - Other

Total Utilities
Total Expense
Net Ordinary Income

Other Income/Expense
Other Income
ADP Refund

Total Other Income

Other Expense
Accrued DIP Accounting Fees
Accrued DIP Legal Fees

Total Other Expense
Net Other income

Net Income

Page 2
Unaudited Statement

Jun 17

-47.76
1,389.00

1,341.24
1,731.17

1,000.00
7,938.88

1,000.00
1,604.37

2,604.37

0.00
0.00

0.00
87,929.39

87,929.39
0.00

87,929.39

768.36
768.36

5,362.50
50,442.31

55,804.81
4,096.30
6,866.91

23,622.00

7,500.00
2,684.43
2,906.07

13,089.50
215,509.83

3,729.07

0.00

 

0.00

1,971.64
600.00

2,571.64

 

-2,571.64

 

1,157.43
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Case 1-1 /-40104-Ccec

Hours and Earnings

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Pay Frequency: Weekly
Department: 1 - Managment

Department Month To Date (June): 1 - Managment

 

 

 

 

Month, Quarter, Year-to-Date Summary

Deductions

Scie

 

 

 

 

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Employer

Ores

 

 

 

 

 

 

Regular 80.00 $11,900.13 FED FIT $1,076.61 New York $4.80 $9,384.98 FED SOCSEC-ER $752.13
Overtime 14.00 $231.00 FED SOCSEC $752.14 voluntary disability FED MEDCARE-ER $175.90
94.00 $12,131.13 FED $175.90 $4.80 FED FUTA $5.77
MEDCARE NY SUI-ER $210.61
NY SIT $493.21 NY3305 - Metro $13.36
NY3301 - New $243.49 Commuter Trans
York City Mobility TaxLIT-ER
Resident LIT $1,157.77
$2,741.35
Department: 2 - FOH
Department Month To Date (June): 2 - FOH
Regular 4,274.72 $33,412.59 FED FIT $5,216.00 New York $67.86 $63,357.04 FED SOCSEC-ER $5,043.60
Overtime 130.35 $1,466.45 FED SOCSEC $5,043.60 voluntary disability FED MEDCARE-ER $1,179.53
Cash tips 0.00 $2,567.12 FED $1,179.56 $67.86 FED FUTA $266.63
Credit card tips 0.00 $43,698.94 MEDCARE NY SULER $3,180.15
owed NY SIT $2,352.46 NY3305 - Metro. $89.42
Bonus 0.00 $203.72 NY3301 - New $1,565.18 Commuter Trans
4,405.07 $78,781.70 York City Mobility TaxLIT-ER
Resident LIT $9,759.33
$15,356.80
Department: 3 - BOH
Department Month To Date (June): 3 - BOH
Regular 1,593.40 $29,161.88 FED FIT $1,872.09 New York $17.40 $27,636.27 FED SOCSEC-ER $2,113.34
Overtime 258.54 $4.924.97 FED SOCSEC $2,113.40 voluntary disability FED MEDCARE-ER $494.27
1,851.94 $34,086.85 FED $494.27 $17.40 FED FUTA $57.76
MEDCARE NY SULER $1,081.68
NY SIT $1,186.28 NY3305 - Metro $37.50
NY3301 - New $767.14 Commuter Trans
York City , Mobility TaxLIT-ER
Resident LIT ° $3,784.55
$6,433.18
Department: 4 - Hostess
Department Month To Date (June): 4 - Hostess
Regular 480.05 $6,468.00 FED FIT $390.64 New York $9.60 $5,487.92 FED SOCSEC-ER $410.99
Overtime 7.65 $160.65 FED SOCSEC $410.96 voluntary disability FED MEDCARE-ER $96.13
487.70 $6,628.65 FED $96.11 $9.60 FED FUTA $38.16
MEDCARE NY SULER $430.87
NY SIT $136.15 NY3305 - Metro $7.29
NY3301 - New $97.27 Commuter Trans
York City Mobility TaxLIT-ER
Resident LIT $983.44
$1,131.13
Company: PRIME SIX INC 1 of 2 Date Printed: 07/18/2017 10:06

Year: 2017, Month: June, Include: Month-to-Date

23236961 - RZ/MTA
Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

Case 1-1 /-40104-Ccec

Hours and Eamings

 

 

Regular 6,428.17 $80,942.60
Overtime 410.54 $6,783.07
Cash tips 0.00 $2,567.12
Credit card tips 0.00 $43,698.94
owed
Bonus 0.00 $203.72
6,838.71 $131,628.33
Company Month To Date (June):
Regular 6,428.17 $80,942.60
Overtime 410.54 $6,783.07
Cash tips 0.00 $2,567.12
Credit card tips 0.00 $43,698.94
owed
Bonus 0.00 $203.72
6,838.71 $131,628.33

Note - Where employees work across multiple depariments their gross, taxes, deductions and net will be accumulated in their home department.

Month, Quarter, Year-to-Date Summary

 

 

Deductions

ater Certs a ade

FED FIT $8,555.34 New York $99.66
FED SOCSEC $8,320.10 voluntary disability
FED $1,945.84 $99.66
MEDCARE
NY SIT $4,168.10
NY3301 - New $2,673.08
York City
Resident LIT

$25,662.46
FED FIT $8,555.34 New York $99.66
FED SOCSEC $8,320.10 voluntary disability
FED $1,945.84 $99.66
MEDCARE
NY SIT $4,168.10
NY3301 - New $2,673.08
York City
Resident LIT

$25,662.46

 

 

$105,866.21

$105,866.21

Employer

FED SOCSEC-ER
FED MEDCARE-ER
FED FUTA

NY SULER
NY3305 - Metro
Commuter Trans
Mobility TaxLIT-ER

FED SOCSEC-ER
FED MEDCARE-ER
FED FUTA

NY SUI-ER

NY3305 - Metro
Commuter Trans
Mobility TaxLIT-ER

 

acta

$8,320.06
$1,945.83
$368.32
$4,903.31
$147.57

 

$15,685.09

$8,320.06
$1,945.83
$368.32
$4,903.31
$147.57

 

$15,685.09

 

Company: PRIME SIX INC

2 of 2

Year: 2017, Month: June, Include: Month-to-Date

Date Printed: 07/18/2017 10:06
23236961 - RZ/MTA
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

Prime Six Inc. Small Business Monthly Operating Report
June 2017
Footnote

The balance sheet is not part of this operating report, as information necessary to provide an accurate
balance is not yet available.
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

SIGNATURE BANK

565 Fifth Avenue, 12" Floor
New York, NY 10017

 

Statement Period

From June Ql, 2017
To June 30, 2017
Page 1 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account; 1502734241 366

PLEASE BE ADVISED THAT ON OR ABOUT FRIDAY, SEPTEMBER 29, 2017, SIGNATURE
BANK'S FINANCIAL CENTER LOCATED AT 1225 FRANKLIN AVENUE IN GARDEN CITY,

NY, WILL BE CLOSING, OUR NEW GARDEN CITY LOCATION AT 900 STEWART AVENUE
SHOULD BE OPEN FOR BUSINESS THE FOLLOWING MONDAY, OCTOBER 2, WE ANTICIPATE
NO INTERRUPTION OF BANKING SERVICES AND WE LOOK FORWARD TO FULFILLING YOUR
FINANCIAL NEEDS FROM OUR NEW OFFICE. IF YOU HAVE ANY QUESTIONS OR CONCERNS
PLEASE FEEL FREE TO CONTACT YOUR SIGNATURE BANK PRIVATE CLIENT GROUP OR
CALL CLIENT SERVICES AT 1-866-S9IGLINE (1-866-744-5463).

 

BANK DEPOSIT ACCOUNTS

1502734241 BANKRUPTCY CHECKING 7,853.42 156,43

RELATIONSHIP TOTAL 156.43
4

  

Case 1-1 /-40104-Ccec

HZ

PRIME SIX INC, DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

BANKRUPTCY CHECKING 1502734241
Summary
Previous Balance as of June 01, 2017
36 Credits
416 Debits
Ending Balance ae of June 30, 2017
Deposite and Other Credits
Jun 01 ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP
002 000000000000724719000008960
Jun 02 ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP
002 000000000005499419000008960
gun 02 DEPOSIT
Jun 05 ACH DEPOSIT ek/ref no.
ADP TAX ADP TAX
Jun 05 ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP
002 000000000005006549000008960
Jun 05 ACH DEPOSIT : ck/ref no.
MERITCARD MERCH DEP
002 000000000050305659000008960
Jun 06 ACH DEPOSIT ek/ref no,
MERITCARD MERCH DEP
002 000000000003600009000008960
gun 06 DEPOSIT
Jun 07. ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP
002 000000000010487909000008960
Jun 08 ACH DEPOSIT ck/reft no.
ADP TAX ADP TAX

Doc 44 Filed O//20/1/

SIGNATURE BANK

9-421

3709284
960000009035908

3613199
960000009035908

3833982
RZMTA 1973052VV
3886367
960000009035908

3902800
960000009035908

3971025
960000009035908
4034606

960000009035908

4063278
RZMTA 1988369VV

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Statement Period

From June 01, 2017
To June 30, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account; 1502734241 366

7,853.42
396,957.73
404,654.72

156.43

724,71

5,499.41

11,500.00 @

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10,487.90

349,57
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Case 1-1 /-40104-Ccec

 

PRIME SIX INC, DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

ACH DEPOSIT ek/ref no,
MERITCARD MERCH DEP

002 000000000005841819000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000007314439000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000004249249000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000034223039000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000029111069000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000004435249000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000004251589000008960
DEPOSIT

ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000003673869000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP
002 000000000039777019000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000021661799000008960
ACH DEPOSIT ek/ref no.
MERITCARD MERCH DEP

002 000000000001280519000008960
DEPOSIT

SIGNATURE BANK

9-421

4066193
960000009035908

4164154
960000009035908

4210203
960000009035908

4247222
960000009035908

4358601

960000009035908

4439151
960000009035908

4509991
960000009035908
4572988
960000009035908
4577613
960000009035908
4631046

960000009035908

4689748
960000009035908

Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

Statement Period

From June O01, 2017
To June 30, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 366

5,841.61

5,000.00
7,314.43

3,000.00 *
4,249.24

34,223.03

5,000.00 ®
29,111.06

4,435.24

4,251.58

9,000.00 ¥
3,673.06

39,777,901

15,000.00
21,661,79

1,280,51

8,000.00 ¢@
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

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SIGNATURE BANK

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Statement Period

From June O01, 2017
To June 30, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

 

PRIME SIX INC, DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 366
dun 22 ACH DEPOSIT ek/ref no, 4735561 3,846,10
MERITCARD MERCH DEP 960000009035908
002 000000000003646109000008960
Jun 23 ACH DEPOSIT ck/ref no. 4913361 3,174.17
MERITCARD MERCH DEP 960000009035908
002 000000000003174179000008960
dun 26 ACH DEPOSIT ek/ref no. 4842319 5,310.73
MERITCARD MERCH DEP 960000009035908
002 000000000005310739000008960
Jun 26 ACH DEPOSIT ck/ref no. 4876145 42,367.95
MERITCARD MERCH DEP 960000009035908
002 000000000042367959000008960
Jun 27 ACH DEPOSIT ck/ref no. 4914610 19,370.68
MERITCARD MERCH DEP 960000009035908
002 000000000019370689000008960
Jun 28 ACH DEPOSIT ek/ref no, 4984871 2,422.43
MERITCARD MERCH DEP 960000009035908
002 000000000002422439000008960
Jun 28 DEPOSIT 10,000,009
dun 29 ACH DEPOSIT ck/ref no. 5061017 4,485.37
MERITCARD MERCH DEP 960000009035908
002 000000000004485379000008960
Jun 30 ACH DEPOSIT ck/refé no. §151262 §,823.73
MERITCARD MERCH DEP 960000009035908
002 000000000005823739000008960
Withdrawals and Other Debite
Jun 01 AUTOMATED PAYMENT ck/ref no, 3726171 6,891,39
MERITCARD FEES 960000009035908
Jun 02 OVERDRAFT FEE 100,00
Jun 05 PRE-AUTHORIZED WD 16,573,18
gun 05 AUTOMATED PAYMENT ck/ref no. 3864609
TIME WARNER CABL CABLE PAY 0010175010 SPA
dun 05 AUTOMATED PAYMENT ck/ref no, 3834000
ADP TAX ADP TAX RZMTA 060620A01
gun 0S AUTOMATED PAYMENT ck/ref no, 3892699 2,500.00
CON ED OF NY INTELL CK 611404470800041
Jun 0S AUTOMATED PAYMENT ck/ref no. 3881200 6,000.00
NYS DTF SALES TAX PAYMNT 000000020266859

gun

06

OUTGOING WIRE XFER

9,186.75
Date

Jun

Jun

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Case 1-1 /-40104-Ccec

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PRIME SIX INC, DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY

11214

Description
REF#H 20170606B6B7261F001314

TO; ADP

BANK: DBTCO AMERICAS NYC

WIRE TRANSFER FEE

REF# 20170606B6B7261F001314

TO: ADP

BANK; DBTCO AMERICAS NYC

AUTOMATED PAYMENT
MERITCARD
AUTOMATED PAYMENT
TRASHBILLING. COM
AUTOMATED PAYMENT
8WS OF AMERICA
AUTOMATED PAYMENT
MERITCARD
AUTOMATED PAYMENT
ADP TAX

ACH
EMPIREMERCHANTS
AUTOMATED PAYMENT
MERTTCARD
AUTOMATED PAYMENT
TIME WARNER CABL
AUTOMATED PAYMENT
AMEX EPAYMENT
AUTOMATED PAYMENT
ADP TAX

AUTOMATED PAYMENT
NYS DTF SALES
AUTOMATED PAYMENT
CON ED OF NY
AUTOMATED PAYMENT
ADP TAX

AUTOMATED PAYMENT
ADP TAX

ACH

SWS OF AMERICA
RETURNED ITEM FEE

ck/ref no.
MERCH CHBK
ck/ref no,
59320(0)
ek/ref no,
CORP PMT
ck/ref no,
MERCH CHBK
ck/ref no,
ADP TAX
ck/ref no.
INVOICE (S)
ck/ref no.
MERCH CHBK
ck/ref no,
CABLE PAY
ck/ref no,
ACH PMT
ck/ref no.
ADP TAX
ck/ref no.
TAX PAYMNT
ck/ref no.
INTELL CK
ek/ref no.
ADP TAX
ck/ref no.
ADP TAX
ck/ref no.
CORP PMT

Doc 44 Filed O//20/1/

SIGNATURE BANK

9-421

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ABA: 021001033
ACCT#H 00153170

ABA; 021001033
ACCT# 00153170

3971029
960000009035908
3936150
7593200017590
4003759
450000000336085
4100352
960000009035908
4101629
RZMTA 060802A01
4104140
2783266
4149435
960000009035908
4242938
0010175010 SPA
4213182
W4220
4193769
RZMTA 060902A01
4235257
000000020445502
4269271
611404470800041
4329238
RZMTA 061303A01
4329239
RZMTA 061303A02
4397895
450000000338156

entered Of/20/1f LotcotO2

Statement Period

From June Ol, 2017
To June 30, 2017
Page 5 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 366

25.00

1,045.20
5,606.02
243,60
4,529.60
7,262,22
$4.21
220,82
1,500,00
5,505,57
7,000.00
2,500.00
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Case 1-1 /-40104-Ccec

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PRIME SIX INC, DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214
AUTOMATED PAYMENT ek/ref no.
ADP PAYROLL FEES ADP - FEES
ACH ck/ref no.
EMPIREMERCHANTS INVOICE (S)
OFFICIAL CHECK FEE
AUTOMATED PAYMENT ck/ref no.
NYS DTF SALES TAX PAYMNT
AUTOMATED PAYMENT ck/ref no.
MERITCARD MERCH CHBK
AUTOMATED PAYMENT ck/ref no.
NATIONAL GRID NY UTILITYPAY
AUTOMATED PAYMENT ck/ref no,
NYS DTF SALES TAX PAYMNT
AUTOMATED PAYMENT ck/ref no,
MERITCARD MERCH CHBK
AUTOMATED PAYMENT ek/ref no.
ADP TAX ADP TAX
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
AUTOMATED PAYMENT ck/ref no,
MERITCARD MERCH CHBK
AUTOMATED PAYMENT ek/ref no.
ADP PAYROLL FEES ADP - FEES
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
ACH ck/ref no.
EMPIREMERCHANTS INVOICE (S)
AUTOMATED PAYMENT ck/ref no.
MERITCARD MERCH CHBK
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
AUTOMATED PAYMENT ck/ref no.
AMEX EPAYMENT ACH PMT
AUTOMATED PAYMENT ek/ref no,
SWS OF AMERICA CORP PMT
AUTOMATED PAYMENT ek/ref no.
EMPIREMERCHANTS INVOICE (S)
RETURNED ITEM FEE
AUTOMATED PAYMENT ck/ref no,
MERITCARD MERCH CHBK

Doc 44 Filed O//20/1/

SIGNATURE BANK

9-421

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4449485
2RMTA 6710788
4507254
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4548301
000000020697132
4631050
960000009035908
4586992
00182240282
4679710
000000020905034
4748208
960000009035908
4709664
RZMTA 062004A01
4767957
RZMTA 062104A04
4613377
960000009035908
4757495
2RMTA 7075434
4767958
RZMTA 062104A03
4804103
2274329
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960000009035908
4892135
RZMTA 062605A01
4890745
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450000000341555
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960000009035908

entered Of/20/1f LotcotO2

Statement Period

From June O01, 2017
To June 30, 2017
Page 6 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 366
240.96
7,983.38

33,869,13
7,000,00

107.83
1,513.61
5,245.16

42.82
5,375.45

110,81

165.01

234.48
5,461.28

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Case 1-1 /-40104-Ccec

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PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214
Description
RETURNED ITEM FEE
AUTOMATED PAYMENT ck/ref no,
ADP PAYROLL FEES ADP - FEES
AUTOMATED PAYMENT ck/ref no.
TIME WARNER CABL CABLE PAY
AUTOMATED PAYMENT ck/ref no.
CON ED OF NY INTELL CK
Checks by Serial Number
7488 65,00
7492 * 692,94
7507 * 435.50
7508 520,37
7510 * 435.80
7517 * 1,768.00
7519 * 161.00
7521 * 160.00
7822 7,020,00
7523 163.31
7524 5,306.00
7525 947,01
7526 3,585.00
7527 450.00
7528 1,248,39
7529 1,191.16
7530 500,00
7531 500,00
71532 161,00
7533 2,000.00
7534 139.50
7535 393.30
7536 674,21
7537 247.30
7538 666,50
7539 200,00
7540 651.97
7541 465.52
7542 1,075,00
7543 1,276.13

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SIGNATURE BANK

9-421

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5081039
2RMTA 8536542
5116322
0010175010 SPA
5120157
611404470800041

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Statement Pariod

From June 01, 2017
To June 30, 2017
Page 7 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account; 1502734241 366

100.00
292.92

664.42

2,500.00

1,500,00
§52,42
500.00
500.00

1,483,62
163,15
647.56
675,00

5,305.00
106.00
159,70
215,00

3,852.00
175.00
806.78
338,00
400,00

65,00
677.43
620.63

1,917,000
806.00
161,00

1,003,54

1,389.00
370,50
313.55

5,362.50

3,165.00
682.80
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

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SIGNATURE BANK

   

Statement Period

From June 01, 2017
To June 30, 2017
Page 8 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 366

Date Serial Nbr Amount Date Serial Nbr Amount
Jun 26 7501 * 5,805.00 Jun 02 100519 * 491,53
Jun 19 7582 500,00 Jun 27 100579 * 60.869
Jun 19 7583 500,00 Jun 12 100611 * 40.64
Jun 19 7584 384.05 Jun 07 100667 * 203,58
Jun 19 7585 257.60 Jun 12 100666 66.79
Jun 20 7586 144,99 Jun 07 100674 * 429,49
Jun 29 7587 627.96 dun 05 100675 319,62
Jun 27 7590 * 1,750.00 dun 07 100680 * 409,43
Jun 21 7596 * 606.32 Jun 02 100682 * 499,97
Jun 26 7597 2,060.00 Jun 05 100684 * 227.27
Jun 26 7598 1,568,00 Jun 05 100665 495.73
Jun 21 7599 265.00 Jun 12 100667 * 149.83
Jun 20 7600 1,379.19 Jun 02 100716 * 462,21
Jun 26 7601 840,00 Jun 01 100724 * 199,20
Jun 14 7603 * 471.12 gun 05 100725 519,98
Jun 14 7604 1,000.00 Jun 01 100733 * 114,23
dun 26 7606 * 3,624.00 Jun 05 100741 * §04,00
dun 16 7607 1,000,00 Jun 05 100743 * 331,00
Jun 21 7608 312.04 Jun 05 100744 480.98
Jun 26 7609 473,20 Jun 12 100745 372.08
Jun 22 7610 475,00 dun 06 100746 360.93
Jun 22 7612 * 791.59 Jun 05 100747 366.16
Jun 22 7613 547.14 dun 05 100748 352,04
dun 26 7615 * 900,00 dun 05 100749 371,90
Jun 21 7616 120.25 dun 14 100750 403,77
dun 27 7617 5,283,00 Jun 02 100751 397.63
dun 26 7619 * 500,00 Jun 06 100752 165,61
Jun 26 7620 500,00 Jun 02 100753 340.06
Jun 30 7621 371,81 Jun 05 100754 106.58
Jun 27 7624 * 590,00 Jun 08 100755 270.87
Jun 26 1625 1,025.75 Jun 06 100756 590.74
Jun 26 7626 908,56 Jun 02 100757 543,34
Jun 27 7627 486.00 Jun 06 100758 167.24
Jun 26 7628 2,180.00 Jun 05 100759 361.46
Jun 29 7629 394,98 Jun 07 100760 401.26
Jun 30 7631 * 400.00 Jun 05 100761 359,94
dun 30 7634 * 508,57 Jun 07 100762 87,50
Jun 29 7637 * 838,00 Jun 05 100763 114.69
Jun 02 100457 * 529.02 Jun 02 100764 344,61 ,
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

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Statement Period

From June Ql, 2017
To June 30, 2017
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PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 366

Date Serial Nbr Amount Date Serial Nbr Amount
dun 08 100765 117,05 Jun 02 100604 411.59
Jun 01 100766 292,11 Jun 12 100805 284,89
dun 05 100767 341,00 Jun 12 100806 186.53
Jun 01 100768 224.91 Jun 14 100807 605.35
dun 06 100769 87.66 Jun 14 100608 375,33
dun 15 100770 208,71 Jun 14 100809 445.61
Jun 05 100771 664,52 Jun 12 100810 311,03
Jun 05 100772 614.72 gun 12 100811 361,92
Jun 02 100773 803,19 Jun 12 100812 76,34
dun 14 100774 451,59 Jun 14 100814 * 345.74
Jun 01 100775 217.99 Jun 12 100815 499,88
dun 02 100776 333,27 Jun 12 100816 77,29
Jun 29 100777 368.79 dun 16 100617 114.53
Jun 27 100778 166.70 Jun 13 100818 134.60
Jun 05 100779 280.33 Jun 13 100819 169.85
Jun 07 100760 509,33 gun 12 100821 * 267.98
Jun 02 100761 627.41 Jun 14 100822 479,61
Jun 06 100782 392.82 gun 12 100823 625,37
Jun 05 100783 §26.39 Jun 19 100824 201,27
gun 05 100784 296,85 dun 12 100825 400.81
Jun 06 100785 474.17 dun 19 100626 415.08
gun 13 100766 121,96 Jun 12 100827 60.62
Jun 02 100787 196,61 Jun 14 100828 307.30
gun 05 100768 241,79 Jun 12 100829 203.76
Jun 02 100789 717.56 Jun 13 100830 135.40
Jun 14 100790 236,80 Jun 14 100631 446.74
Jun 02 100791 619.01 Jun 12 100832 523.39
Jun 05 100792 513.38 Jun 20 100833 253.67
Jun 05 100793 1,213.65 dun 13 100834 158.63
Jun 02 100794 709.84 Jun 12 100835 394,80
Jun 05 100795 534.97 Jun 12 100836 640.29
Jun 05 100796 576.67 Jun 12 100837 366.83
Jun 02 100797 620,42 Jun 14 100838 232,02
Jun 05 100798 424,95 gun 15 100639 201,85
Jun 05 100792 520,63 Jun 14 100840 664,51
Jun 05 100800 567.78 Jun 12 100641 614.73
dun 05 100601 286,03 dun 16 100842 903,18
Jun 06 100802 91,34 Jun 12 100843 429,49

Jun 13 100803 160,48 Jun 14 100844 333,37
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

SIGNATURE BANK

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Statement Period

From June Q1, 2017
To June 30, 2017
Page 10 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 366

Date Serial Nbr Amount Date Serial Nbr Amount
Jun 12 100845 179.18 Jun 20 100886 652,53
Jun 29 100846 326,53 Jun 19 100867 513.28
Jun 12 100847 470,60 Jun 19 100688 412.85
Jun 20 100848 485.12 Jun 20 100689 410.28
Jun 12 100843 612.71 Jun 16 100890 115,20
gun 12 100850 522.25 dun 19 100691 406.42
Jun 19 1008651 68.49 Jun 16 100892 90.40
Jun 21 100852 294,23 Jun 19 100893 111,68
Jun 14 100853 513.38 Jun 19 100894 399,54
dun 14 1008654 199.14 Jun 19 100895 447,79
Jun 23 100855 146.66 Jun 20 100696 358.66
Jun 12 100656 668.31 Jun 21 100897 141,25
Jun 14 100857 611.76 Jun 16 100898 503,30
Jun 12 100658 530,52 Jun 19 100899 187,14
Jun 12 100659 247,83 Jun 16 100900 466.73
Jun 12 100860 1,213,84 Jun 15 100901 361,15
Jun 12 100661 535,53 Jun 20 100902 292,35
Jun 14 100862 426,07 Jun 26 100903 240.42
Jun 12 100863 603.49 Jun 16 100904 664,51
Jun 12 100864 583.13 Jun 20 100905 614.72
Jun 12 100865 424,95 dun 27 100906 803,18
Jun 12 100866 530.15 Jun 15 100907 429,49
Jun 14 100867 611,23 Jun 16 100909 * 116.65
Jun 13 100868 169,38 Jun 29 100910 320,99
Jun 14 100869 245,81 Jun 19 100911 445,53
dun 14 100870 230.53 Jun 20 100912 412.56
Jun 14 100871 399,80 Jun 16 100913 663,90
Jun 20 100872 199.64 Jun 20 100914 510,65
Jun 19 100873 352,59 gun 19 100915 500,55
Jun 20 100874 360,19 Jun 21 100916 303.73
Jun 19 100675 322,06 Jun 16 100917 468,11
gun 19 100876 349,17 Jun 16 100920 * 500.19
Jun 16 100877 188,00 Jun 16 100921 603.72
Jun 19 100878 320.34 Jun 20 100922 1,213.85
dun 21 100860 * 475.02 Jun 19 100923 496,10
Jun 16 100661 477.23 Jun 20 100924 542,17
Jun 15 100882 112.45 Jun 16 100925 697.06
Jun 21 100863 169,09 dun 19 100926 375.25

Jun 19 100885 * 246.95 Jun 20 100927 623,91
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

SIGNATURE BANK

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Statement Period

From June 01, 2017
To June 30, 2017
Page 11 of 12

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1:17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account; 1502734241 366

Date Serial Nbr Amount Date Serial Nbr Amount
Jun 19 100928 424.95 Jun 26 100967 649,78
Jun 15 100929 433,22 Jun 22 100968 4268.19
Jun 19 100930 512.78 Jun 22 100969 378,43
dun 16 100931 75.64 Jun 27 100971 * 206.64
Jun 15 100932 269.99 dun 27 100972 614,73
Jun 19 100933 228,38 Jun 27 100973 903.19
Jun 23 100934 213,13 Jun 26 100974 469.87
Jun 16 100935 454.61 Jun 23 100976 * 187,34
Jun 26 100936 466.66 Jun 29 100977 444.13
Jun 26 100937 333.91 Jun 26 100978 488.66
Jun 27 100938 711,52 Jun 27 100979 495,60
Jun 26 100939 352,92 Jun 26 100960 724,99
Jun 26 100940 374,13 Jun 26 100981 681.29
Jun 26 100941 464,01 Jun 26 100962 124,56
Jun 26 100942 424.59 Jun 27 100983 450.16
Jun 26 100943 423,66 Jun 27 1009a5 * 173.67
dun 27 100945 * 396.86 gun 26 100966 527,74
Jun 22 100947 * 117.78 Jun 26 100987 719,51
Jun 23 100948 183.42 Jun 26 100988 444,57
Jun 27 100949 243.29 Jun 26 100989 461.91
Jun 29 100951 * 301,76 Jun 26 100991 * 501.69
Jun 26 100952 337.57 Jun 27 100992 495.77
Jun 27 100953 722,70 Jun 26 100993 540,60
Jun 22 100954 §45,61 Jun 26 100995 * 445.20
Jun 27 100955 506.32 Jun 26 100996 548,40
dun 27 100956 546,18 Jun 26 100997 424,93
Jun 23 100957 328,61 Jun 26 100998 429,51
Jun 26 100958 276.21 Jun 30 101000 * 181,27
Jun 23 100959 300,35 Jun 27 101001 473.30
Jun 26 100960 196.40 gun 26 101003 * 291,51
Jun 26 100961 452.47 Jun 27 101004 125,87
Jun 26 100962 453.38 Jun 29 101017 * 300.96
Jun 27 100963 369.27 Jun 29 101024 * 313.37
dun 26 100964 204,02 dun 30 101036 * 389.60
dun 26 100965 118,27 gun 30 101037 377.63
Jun 23 100966 157,05 Jun 30 101043 * 127.95

* Indicates break in check sequence
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

 

SIGNATURE BANK
Statement Period
From June 01, 2017
To June 30, 2017
Page 12 of 12
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC, DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 366
Daily Balances
May 31 7,653.42 Jun 16 96.70
dun 01 297.30 Jun 19 315.02
Jun 02 155.13 Jun 20 8,048.89
dun 05 6,968.18 Jun 21 9,377.31
Jun 06 3,093.81 Jun 22 4,521.20
Jun 07 5,189.60 Jun 23 207.03
Jun 08 2,352.91 dun 26 3,852.17
Jun 0g 45,91 gun 27 4,080.80
Jun 12 4,136.92 dun 26 68,46
Jun 13 40,97 Jun 29 246.87
dun 14 404.84 dun 30 156,43

Jun 15 407.22

Rates for thia statement period - Overdraft
gun 15, 2017 14,000000 %
Jun 01, 2017 13,750000 %
Case 1-1/-40104-cec Doc 44 Filed O/iz0/Llf Entered Of/20/1f LoltcotO0e

 

 

 

12:52 PM Prime Six Inc DBA Woodland 2017
07/19/17 Reconciliation Summary
New Checking Signature 4241, Period Ending 06/30/2017
Jun 30, 17
Beginning Balance 7,853.42
Cleared Transactions
Checks and Payments - 416 items -404,654.72
Deposits and Credits - 36 items 396,957.73
Total Cleared Transactions -7,696.99
Cleared Balance 156.43
Uncleared Transactions
Checks and Payments - 76 items -76,145.41
Deposits and Credits - 12 items 82,582.76
Total Uncleared Transactions 6,437.35
Register Balance as of 06/30/2017 6,593.78
New Transactlons
Checks and Payments - 369 items -278,520.78
Deposits and Credits - 18 items 234,686.83
Total New Transactions -43,833.95
Ending Balance +37,240.17

 

Page 1
Unaudited Statement
12:52 PM
07/19/17

Case 1-1 /-40104-Ccec

Type

Beginning Balance

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

Date

Cleared Transactions
Checks and Payments - 416 items

Check
Bill Pmt -Check
Check
Bill Pmt -Check
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05/09/2017
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05/31/2017
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05/31/2017
05/31/2017
05/31/2017
05/31/2017
05/31/2017
05/31/2017

Num

100457

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Name

Block, Amber
Flagpole NYC

Block, Amber

A. Refrigiration
Moldovan, Amanda
Bowater-Skelly, Aedn
Mamiacheva, Taisia
Moldovan, Amanda
McCulloch, Courtney
Adrian $ Diaz,
Kandioura, Barry
Sawadogo, Pingwen..
Felix, Garison
Zamboni, Cosmin
Herrera, Eriberto
Abrorov, Djamshed
Mosley, Tarren
Matero, Jamie
Amanda Sylvestre
Roque, Jose

Pat LaFrieda

Joyce Beer Gas
OREL PRODUCE,INC
AUTO-CHLOR SYS...
ELIS BREAD
Cmeron, Jermaine
Ouedraogo, Ismael
Palma, Ceballos Luis
Chung, Rwanda
Honore, Mikail
Ragusa, Tina
Hoo-Fong, Paul
Piccolo, James
Clemons, Pierra
Gbadamassi, Justin
Felix, Garison
Compaore, Saidou
Rodriguez, Zoey
Foster, Andrew
Rysyk, Lyubomyr
Tapsoba, Rasmane
Matero, Jamie
Bailey, Ariana
Seepersaud, Amanda
Murphy, Joshua
Yamazaki, Pedro
Wells, Tatasha Lee
Pat LaFrieda
Parfenov, John
Lenard, Nikia
Kseniya Lozano
Scott, Sean

Roye, Chelsea
McCulloch, Courtney
ZAVGARDONIAIA, I...
Roque, Jose

Jetro Cash & Carry
Doucoure, Mohamed
Wilson, Adriel
Abdel, Konate

Kone, Idrissa

Clyne, Kimberly
Kabore, Madi
SCOTT, OBRIAN
Castillo, Alberto

Page 1
Unaudited Statement

Clr

AX XR MMMM KM MMMM KM MM HRM MRM KM KK KM MK KM KKM MM MK KM HM MM KM KK KM KKK KM KM KK MM RM KRM MR KM RM

Amount

-529.02
-806.78
-491.53
-435,.50

-60.89

-40.64
-203.58

-66.79
519.98
-504.00
-499.97
-495.73
-462.21
-429.49
-409.43
-319.82
-227.27
-199.20
-149.83
-114.23
-692.94

-65.00

-1,768,00
-520.37
435,80

-2,000.00
-590.74
543.34
-480.98
-403.77
-401.26
-397.63
-381.46
-372.08
-371,90
-366.16
-360,93
-359.94
-352.04
-344.61
-341.00
-340.06
-331.00
-292.11
-270.87
-224.91
-208.71
-180.00
-167.24
-165.61
-139.50
“117.05
“114.69
-106.58

-87.66
-87.50

-7,020.00

-1,213.85
-803.19
-717.56
-709.84
-664.52
-627.41
-620.42
-619.01

Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

Balance

7,853.42

-529.02
-1,335.80
1,827.33
-2,262.83
-2,323.72
-2,364.36
-2,567.94
-2,634.73
3,154.71
-3,658.71
-4,158.68
4,654.41
-5,116.62
-5,546.11
-5,955.54
-6,275.36
-6,502.63
-6,701.83
-6,851.66
-6,965.89
-7,658.83
-7,723,83
-9,491.83

-10,012.20
-10,448.00
-12,448.00
-13,038.74
-13,582.08
-14,063.06
-14,466.83
-14,868.09
-15,265.72
-15,647.18
-16,019,26
-16,391.16
-16,757.32
-17,118.25
-17,478.19
-17,830,23
-18,174.84
-18,515.84
-18,855,90
-19,186.90
-19,479.01
-19,749.88
-19,974.79
-20,183.50
-20,363.50
-20,530.74
-20,696.35
-20,835.85
-20,952.90
-21,067.59
-21,174.17
-21,261.83
-21,349,33
-28,369,33
-29,583.18
-30,386.37
-31,103.93
-31,813.77
-32,478.29
-33,105.70
-33,726.12
-34,345.13
12:52 PM
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

 

 

Type Date Num Name
Check 05/31/2017 100772 = Petrosyants, Robert
Check 05/31/2017 100796 Morales, Diego
Check 05/31/2017 100800 Wandaogo, Abdoul
Check 05/31/2017 100795 Mcleod, Herman
Check 05/31/2017 100783 Monterroso, Jamie
Check 05/31/2017 100799 Traore, Drissa
Check 05/31/2017 100792 = Cheik, Keita
Check 05/31/2017 100780 Herrera, Eriberto
Check 05/31/2017 7531 PORTER
Check 05/31/2017 7530 PORTER
Check 05/31/2017 100785 Shaw, Prema
Check 05/31/2017 100774  Abrorov, Djamshed
Check 05/31/2017 100798 |= THOMAS, PAUL
Check 05/31/2017 100804 Mrani, Mouna
Check 05/31/2017 7535 Mamiacheva, Taisia
Check 05/31/2017 100782 Kandioura, Barry
Check 05/31/2017 100777 Block, Amber
Check 05/31/2017 100776  Aguaiza, Luis
Check 05/31/2017 100784 Mosley, Tarren
Check 05/31/2017 100801 Mamiacheva, Taisia
Check 05/31/2017 100779 Garcia, Anyely
Check 05/31/2017 100788 = Wong, Channelle
Check 05/31/2017 100790 = Adrian S Diaz,
Check 05/31/2017 100775 Adefemi Agbo-Ola
Check 05/31/2017 100787 = Wong, Channelle
Check 05/31/2017 100778 Fiumefreddo, Audra
Check 05/31/2017 100803 —_ Evelyn Morales
Check 05/31/2017 100786 Amanda Sylvestre
Check 05/31/2017 100802 Moldovan, Amanda
Check 06/01/2017 Merit Card
Bill Pmt -Check 06/01/2017 7528 Manhattan Beer
Bill Pmt -Check 06/01/2017 7529 Pat LaFrieda
Check 06/01/2017 7519 Union Beer Distribut...
Bill Pmt -Check 06/02/2017 7543 Out of The Blue Wh...
Bill Pmt -Check 06/02/2017 7542 OREL PRODUCE, INC
Bill Pmt -Check 06/02/2017 7536 AUTO-CHLOR SYS...
Bill Pmt -Check 06/02/2017 7540 Multi-Flow Industries
Bill Pmt -Check 06/02/2017 7538 ELIS BREAD
Bill Pmt -Check 06/02/2017 7541 Northern Shore Linen
Bill Pmt -Check 06/02/2017 7537 Bindi
Bill Pmt -Check 06/02/2017 7539 Golden Malted
Bill Pmt -Check 06/02/2017 7523 Radio Electronics
Check 06/02/2017 7532 Union Beer Distribut...
Check 06/02/2017 Bank Charge
Bill Pmt -Check 06/03/2017 7524 MAS Security Assoc...
Check 06/05/2017 Fang Realty
Check 06/05/2017
Bill Pmt -Check 06/05/2017 ConEdison
Bill Pmt -Check 06/05/2017 7525 Pat LaFrieda
Check 06/05/2017 7547 PORTER
Check 06/05/2017 7546 PORTER
Check 06/05/2017 Time Warner Cable
Check 06/06/2017 Outgoing wire transfer
Bill Pmt -Check 06/06/2017 7526 Jetro Cash & Carry
General Journal 06/06/2017 104
Check 06/06/2017 trashbilling.com
Check 06/06/2017 Merit Card
Check 06/06/2017 7575 Mamiacheva, Taisia
Check 06/06/2017 7561 Kseniya Lozano
Bill Pmt -Check 06/06/2017 7556 United Paper and Ri...
Check 06/06/2017 Bank Charge
Check 06/07/2017 Southern Wine and ..,
Bill Pmt -Check 06/07/2017 7555 Jetro Cash & Carry
Bill Pmt -Check 06/07/2017 7548 Balter Sales Compa...
Bill Pmt -Check 06/07/2017 7573 Balter Sales Compa...
Bill Pmt -Check 06/07/2017 7545 Jetro Cash & Carry
Bill Pmt -Check 06/07/2017 7557 Manhattan Beer
General Journal 06/08/2017 112

Page 2
Unaudited Statement

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xxx xX MMM XMM MM MXM MM KKM MM KKM KM KKK KX KKM MK KK MMMM KK MMM KM KK KKM KR NK MM HMR MMR MM MOM

Amount

-614.72
-578.87
-567.78
-634.97
-526.39
-520.63
-513.38
-509.33
-500.00
-500.00
-474.17
-451.59
-424.95
~411,59
-393.30
-392.82
-388.79
-333.27
-296.85
-286.03
-280.33
-241.79
-236,.80
-217.99
-196.61
-166.70
-160.48
-121.96
-91.34
-6,891.20
-1,248.39
-1,181.16
-161.00
-1,276.13
-1,075.00
-874.21
-851.97
-666.50
-465.52
-247.30
-200.00
-163.31
-161,00
-100.00
-5,306.00
16,573.18
-6,000,00
-2,500.00
-947.01
-500.00
-500.00
-266.70
-9,186.75
-3,585.00
-1,863.23
-1,045.20
-392,.32
-370.50
-175.00
-106,00
-25.00
-5,606.02
-6,305.00
1,483.62
-1,003.54
-552.42
-159.70
-4,529.60

Balance

-34,959.85
-35,538.72
-36,106.50
-36,641.47
-37,167.86
-37,688.49
-38,201.87
-38,711.20
-39,211.20
-39,711.20
-40,185.37
-40,636.96
-41,061.91
-41,473.50
-41,866.80
-42,259.62
-42,648.41
-42,981.68
-43,278.53
-43,564.56
-43,844,89
-44,086.68
-44,323,48
-44,541.47
-44,738.08
44,904.78
-45,065.26
-45,187,22
-45,278.56
-52,169.76
-53,418.15
-54,599.31
-54,760.31
-56,036.44
-57,111.44
-57,985.65
-58,837.62
-59,504.12
-59,969.64
-60,216.94
-60,416.94
-60,580.25
-60,741.25
-60,841.25
-66,147.25
-82,720.43
-88,720.43
-91,220.43
-92,167.44
-92,667.44
-93,167.44
-93,434.14
-102,620.89
-106,205.89
-108,069.12
-109,114.32
-109,506.64
-109,877.14
-110,052.14
-110,158.14
-110,183.14
-115,789.16
-121,094.16
“122,577.78
-123,581.32
-124,133.74
-124,293.44
-128,823.04
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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Type

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Bill Pmt -Check
General Journal
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
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Bill Pmt -Check
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Bill Pmt -Check
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Bill Pmt -Check
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Date Num Name
06/08/2017 100836 Tapsoba, Rasmane
06/08/2017 100823 Palma, Ceballos Luis
06/08/2017 100807 Chung, Rwanda
06/08/2017 100832 Rysyk, Lyubomyr
06/08/2017 100815 Hoo-Fong, Paul
06/08/2017 100822 Ouedraogo, Ismael
06/08/2017 100831 Roye, Chelsea
06/08/2017 100809 Compaore, Saidou
06/08/2017 100826 Ragusa, Tina
06/08/2017 100825 Piccolo, James
06/08/2017 100835 Seepersaud, Amanda
06/08/2017 100808 Clemons, Pierra
06/08/2017 100837 Yamazaki, Pedro
06/08/2017 100811 Felix, Garison
06/08/2017 100814 Honore, Mikail
06/08/2017 100810 Compoare, Aziz
06/08/2017 100828 Rodriguez, Anibal
06/08/2017 100805 Bailey, Ariana
06/08/2017 100821 Murphy, Joshua
06/08/2017 100833 SANTANA, INDISMEL
06/08/2017 Merit Card
06/08/2017 100838 ZAVGARDONIAIA, I...
06/08/2017 100829 Rodriguez, Zoey
06/08/2017 100839 Wells, Tatasha Lee
06/08/2017 100824 Parfenov, John
06/08/2017 100819 Matero, Jamie
06/08/2017 100806 Bowater-Skelly, Aedn
06/08/2017 100834 Scott, Sean
06/08/2017 100830 Roque, Jose
06/08/2017 100818 = Toure, Malick
06/08/2017 100817 Lenard, Nikia
06/08/2017 100816 James, Eric
06/08/2017 100812 Foster, Andrew
06/08/2017 100827 Roberts, Germayne
06/09/2017 Empire merchants
06/09/2017 113
06/09/2017 7577 Robert lannucci and ...
06/09/2017 7568 OREL PRODUCE, INC
06/09/2017 7874 Amtrust Workers Co...
06/09/2017 100860 Doucoure, Mohamed
06/09/2017 7566 Multi-Flow Industries
06/09/2017 7569 Out of The Blue Wh...
06/09/2017 100842 = Wilson, Adriel
06/09/2017 100856 Abdel, Konate
06/09/2017 100840 Clyne, Kimberly
06/09/2017 7567 Northern Shore Linen
06/09/2017 100841 Petrosyants, Robert
06/09/2017 100849 Kabore, Madi
06/09/2017 100857 Castillo, Alberto
06/09/2017 100867 Wandaogo, Abdoul
06/09/2017 100863 Morales, Diego
06/09/2017 100864 SCOTT, OBRIAN
06/09/2017 100861 Kone, ldrissa
06/09/2017 100858 Cheik, Keita
06/09/2017 100866 Traore, Drissa
06/09/2017 100850 Kandioura, Barry
06/09/2017 100853 Shaw, Prema
06/09/2017 100848 Herrera, Eriberto
06/09/2017 100847 Garcia, Anyely
06/09/2017 7527 Jetro Cash & Carry
06/09/2017 100843 Zamboni, Cosmin
06/09/2017 100862 Mcleod, Herman
06/09/2017 100865 THOMAS, PAUL
06/09/2017 7564 Golden Malted
06/09/2017 100871 Mrani, Mouna
06/09/2017 7563 ELIS BREAD
06/09/2017 100844 = Abrorov, Djamshed
06/09/2017 100846 Block, Amber

Page 3

Unaudited Statement

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Amount

-640.29
625,37
-605.35
-523.39
-499.88
-479.61
-446.74
-445.61
-415.08
-400.81
-394.80
-375,33
-366.83
-361.92
-345,74
-311.03
-307,30
-284.89
-267.98
-253.67
-243.60
-232,02
-203.76
-201.85
-201.27
~189.85
-186.52
-158.63
-135.40
-134.60
-114.53
-77.29
-76.34
-60.62
-7,262.22
-5,505.57
-5,362.50
-1,917.00
-1,389.00
-1,213.84
-877.43
-806.00
-803.18
-668.31
-664.51
-620.63
-614.73
-612.71
-611.76
-611.23
-603.49
-583.13
-535.53
-530.52
-530.15
-622.25
-513.38
-485.12
-470.80
-450.00
-429.49
-426.07
-424.95
-400.00
-399.80
-338.00
-333.37
-328.53

Balance

-129,463.33
-130,088.70
-130,694.05
-131,217.44
-131,717.32
-132,196.93
-132,643.67
-133,089.28
-133,504.36
-133,905.17
-134,299.97
-134,675.30
-135,042.13
-135,404.05
-135,749.79
-136,060.82
-136, 368.12
-136,653.01
-136,920.99
-137,174.66
-137,418.26
-137,650.28
-137,854.04
-138,055.89
-138,257.16
-138,447.01
-138,633.53
-138,792.16
-138,927.56
-139,062.16
-139,176.69
-139,253.98
-139,330.32
-139,390.94
-146,653.16
-152,158.73
-157,521.23
-159,438.23
-160,827.23
-162,041.07
-162,918.50
-163,724.50
-164,527.68
-165, 195.99
-165,860.50
-166,481.13
-167,095.86
-167,708.57
-168,320.33
-168,931.56
-169,535.05
-170,118.18
-170,653.71
-171,184.23
-171,714.38
-172,236.63
-172,750.01
-173,235.13
-173,705.93
-174,155.93
-174,585.42
-175,011.49
-175,436.44
-175,836.44
-176,236.24
-176,574.24
~176,907.61
-177,236.14

 
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

 

Type

Check
Check
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Check
Bill Pmt -Check
Check
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Check
Bill Pmt -Check
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Check
Bill Pmt -Check
Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check
Bill Pmt -Check
Check
Check
Check
Check
Check
General Journal
General Journal
Bill Pmt -Check
Check
Check
Check
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Check
Check

 

Date Num Name
06/09/2017 7576 Foster, Andrew
06/09/2017 100852 Mosley, Tarren
06/09/2017 100859 Dash, Jerome
06/09/2017 100869 Mamiacheva, Taisia
06/09/2017 100870 Moldovan, Amanda
06/09/2017 7559 Bindi
06/09/2017 100854 Amanda Sylvestre
06/09/2017 100845 Aguaiza, Luis
06/09/2017 100868 Alfaro, Desiree
06/09/2017 7570 Union Beer Distribut...
06/09/2017 100855 = Wong, Channelle
06/09/2017 100851 Merrick, Omar
06/09/2017 7565 Joyce Beer Gas
06/09/2017 Merit Card
06/10/2017 7560 MAS Security Assoc...
06/10/2017 7553 King Kaos Entertain...
06/11/2017 7552 Jetro Cash & Carry
06/11/2017 7550 Tommy's Window Cl...
06/12/2017
06/12/2017 7578 Jetro Cash & Carry
06/12/2017 7544
06/12/2017
06/12/2017 7604 Jermaine Cameron
06/12/2017 7603 Kseniya Lozano
06/12/2017 Time Warner Cable
06/13/2017 115
06/13/2017 114
06/13/2017 ConEdison
06/13/2017 100922 Doucoure, Mohamed
06/13/2017 100906 Wilson, Adriel
06/13/2017 100925 Morales, Diego
06/13/2017 100904 = Clyne, Kimberly
06/13/2017 100913 Kabore, Madi
06/13/2017 100886 Quedraogo, Ismael
06/13/2017 100927 SCOTT, OBRIAN
06/13/2017 100905 Petrosyants, Robert
06/13/2017 100921 Castillo, Alberto
06/13/2017 100924 Mcleod, Herman
06/13/2017 100887 Palma, Ceballos Luis
06/13/2017 100930 Wandaogo, Abdoul
06/13/2017 100914 Kandioura, Barry
06/13/2017 100898 Seepersaud, Amanda
06/13/2017 100915 Monterroso, Jamie
06/13/2017 100920 Abdel, Konate
06/13/2017 100923 Kone, Idrissa
06/13/2017 100900 — Toure, Malick
06/13/2017 100881 Hoo-Fong, Paul
06/13/2017 100880 Honore, Mikail
06/13/2017 100917 Seepersaud, Amanda
06/13/2017 100935 Mrani, Mouna
06/13/2017 100895  Rysyk, Lyubomyr
06/13/2017 100911 Garcia, Anyely
06/13/2017 100929 Traore, Drissa
06/13/2017 100907 Zamboni, Cosmin
06/13/2017 100928 THOMAS, PAUL
06/13/2017 100888 Piccolo, James
06/13/2017 100912 Herrera, Eriberto
06/13/2017 100889 Ragusa, Tina
06/13/2017 100891 Rodriguez, Anibal
06/13/2017 100894 Roye, Chelsea
06/13/2017 100926 Sanogo, Youssouf
06/13/2017 100901 Yamazaki, Pedro
06/13/2017 100874 Clemons, Pierra
06/13/2017 100896 SANTANA, INDISMEL
06/13/2017 100873 = Chung, Rwanda
06/13/2017 100876 Compoare, Aziz
06/13/2017 100875 §Compaore, Saidou
06/13/2017 100910 Block, Amber

Page 4

Unaudited Statement

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HK KK KKK KKK HK KKK KK HK KK KKK KK HK HK KKK KKK HK EK KKK KKK KK KKK KK KKK KKK HHI CO |

Amount

-313.55
294.23
-247,83
-245.81
-230.53
-215.00
-199.14
-179.18
-169.38
-161.00
-146.66
-68.49
-65.00
~64.21
-3,852.00
-675.00
~647,56
-163.15
-7,000.00
-3,165.00
-1,500.00
~1,500.00
-1,000,00
-471.12
-220.82
-5,849.42
-4,209.07
-2,500.00
1,213.85
-803.18
-697.06
-664.51
-663.90
-652.53
-623.91
-614.72
-603.72
-642.17
-§13.28
-512.78
-510.65
-503.30
-600,55
-600.19
-496.10
-486.73
-477,23
-475.02
-465.11
-454.81
-447,79
-445.53
-433.22
-429.49
-424,95
-412,85
-412.56
-410.28
-406.42
-399,54
-375.25
-361.15
-360.19
-358.66
-352.59
-349.17
-322.06
-320.99

Balance

-177,549.69
-177,843.92
-178,091.75
-178,337.56
-178,568.09
-178, 783.09
-178,982.23
-179,161.41
-179,330.79
-179,491.79
~179,638.45
-179,706.94
-179,771.94
-179,826.15
-183,678.15
-184,353.15
-185,000.71
-185, 163.86
-192,163.86
-195,328.86
-196,828.86
-198,328.86
-199,328.86
-199,799.98
-200,020.80
-205,870.22
-210,079.29
-212,579.29
-213,793.14
-214,596.32
-215,293.38
-215,957.89
-216,621.79
-217,274.32
-217,898.23
~218,512.95
-219,116.67
-219,658.84
-220,172.12
-220,684.90
-221,195.55
-221,698.85
-222,199.40
-222,699.59
-223,195.69
-223,682.42
-224,159.65
-224,634.67
-225,099.78
-225,554.59
-226,002.38
-226,447.91
-226,881.13
-227,310.62
-227,735.57
-228, 148.42
-228 560.98
-228,971.26
-229,377.68
-229,777.22
-230, 152.47
-230,513,62
-230,873.81
-231 232.47
-231,585.06
-231,934.23
-232,256,29
-232,577.28
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07/19/17 Reconciliation Detail
New Checking Signature 4241, Period Ending 06/30/2017
Type Date Num Name Clr Amount Balance
Check 06/13/2017 100878 Foster, Andrew x -320.34 -232,897.62
Check 06/13/2017 100916 Mosley, Tarren x -303.73 -233,201.35
Check 06/13/2017 100902 ZAVGARDONIAIA, I... x -292.35 -233,493.70
Check 06/13/2017 100932 Floyd, Julissa x -269.99 -233,763.69
Check 06/13/2017 100885 Murphy, Joshua x -246.95 -234,010.64
Check 06/13/2017 100903 Wells, Tatasha Lee x -240.42 -234,251.06
Check 06/13/2017 100933 Mamiacheva, Taisia x -228.38 -234,479.44
Check 06/13/2017 100934 Moldovan, Amanda x -213.13 -234,692.57
Check 06/13/2017 100872 Bailey, Ariana Xx -199.64 -234,892.21
Check 06/13/2017 100883 Lenard, Nikia Xx -189.09 -235,081.30
Check 06/13/2017 100877 Felix, Garison x -188.00 -235,269.30
Check 06/13/2017 100899 Tapsoba, Rasmane x -187.14 -235,456.44
Check 06/13/2017 100897 Scott, Sean Xx -141.25 -235,597.69
Check 06/13/2017 100909  Aquaiza, Luis x -118.85 -235,716.54
Check 06/13/2017 100890 Roberts, Germayne x -115.20 -235,831.74
Check 06/13/2017 100882 James, Eric x -112.45 -235,944.19
Check 06/13/2017 100893 Roque, Jose x -111.88 -236,056.07
Check 06/13/2017 100892 Rodriguez, Zoey x -90.40 -236,146.47
Check 06/13/2017 100931 Alfaro, Desiree x -75.64 -236,222.11
Bill Pmt -Check 06/14/2017 7581 Jetro Cash & Carry x -5,805.00 -242,027.11
Bill Pmt -Check 06/14/2017 7606 MAS Security Assoc... x -3,624.00 -246,651.11
Check 06/15/2017 7607 Zamboni INC x -1,000.00 -246,651.11
Bill Pmt -Check 06/15/2017 7584 Pat LaFrieda x -384.05 -247,035.16
Bill Pmt -Check 06/16/2017 Southern Wine and... x -2,942.35 -249,977.51
Bill Pmt -Check 06/16/2017 7600 Manhattan Beer x 1,379.19 -251,356.70
Bill Pmt -Check 06/16/2017 7615 Out of The Blue Wh... x -900.00 -252,256.70
Check 06/16/2017 7601 FDNY x -840.00 -253,096.70
Bill Pmt -Check 06/16/2017 7612 Multi-Flow Industries x -791,59 -253,888.29
Bill Pmt -Check 06/16/2017 7579 Pat LaFrieda Xx -682.80 -254,571.09
Bill Pmt -Check 06/16/2017 7613 Northern Shore Linen x ~547.14 -255,118.23
Bill Pmt -Check 06/16/2017 7610 Golden Malted Xx 475,00 -255,593.23
Bill Pmt -Check 06/16/2017 7609 ELIS BREAD x -473,20 -256,066.43
Bill Pmt -Check 06/16/2017 7608 Bindi x -312.04 -256,378.47
Bill Pmt -Check 06/16/2017 7599 Jetro Cash & Carry Xx -265.00 -256 643.47
Bill Pmt -Check 06/16/2017 7585 Union Beer Distribut... x -257.60 -256,901.07
Check 06/16/2017 x -240,96 -257,142.03
Bill Pmt -Check 06/16/2017 7586 S K | Beer Corp x -144.99 -257 287.02
Check 06/16/2017 x -25.00 -257,312.02
Bill Pmt -Check 06/17/2017 7598 MAS Security Assoc... x -1,568.00 -258,880.02
Check 06/19/2017 Fang Realty x -33,869.13 -292,749.15
Check 06/19/2017 Empire merchants x -7,983.38 -300,732.53
Check 06/19/2017 x -7,000.00 -307,732.53
Bill Pmt -Check 06/19/2017 7597 Jetro Cash & Carry Xx -2,060.00 -309,792.53
Bill Pmt -Check 06/19/2017 7596 Pat LaFrieda x -606,52 -310,399.05
Check 06/19/2017 7583 x -500.00 -310,899.05
Check 06/19/2017 7582 x -500.00 -311,399.05
Check 06/20/2017 Nationalgrid X ~1,513.61 -312,912.66
Check 06/20/2017 7619 PORTER x -500.00 -313,412.66
Check 06/20/2017 7616 Kseniya Lozano x -120.25 -313,532,91
Check 06/20/2017 Merit Card x -107.83 -313,640.74
Bill Pmt -Check 06/21/2017 7617 Jetro Cash & Carry x -5,283.00 -318,923.74
Check 06/21/2017 NYS Sales Tax x -5,245.16 -324,168.90
Check 06/22/2017 ADP Tax x -5,375.45 -329,544.35
Bill Pmt -Check 06/22/2017 7628 Old Construction Corp x -2,180.00 -331,724.35
Bill Pmt -Check 06/22/2017 7625 Manhattan Beer x -1,025.75 -332,750.10
Check 06/22/2017 100954 Payroll x -545.81 -333,295.91
Check 06/22/2017 7620 PORTER x -600.00 -333,795.91
Check 06/22/2017 100968 Payroll x -428.19 -334,224.10
Check 06/22/2017 100969 Payroll x -378.43 -334,602.53
Bill Pmt -Check 06/22/2017 7621 Pat LaFrieda x -371,81 -334,974.34
Check 06/22/2017 100947 Payroll x -117.78 -335,092.12
Check 06/22/2017 Merit Card x -42.82 -335,134.94
Check 06/23/2017 ADP Tax x -5,461.28 -340,596.22
Bill Pmt -Check 06/23/2017 7634 Northern Shore Linen x -508.57 -341,104.79
Check 06/23/2017 7627 Wandaogo, Abdoul x -486.00 -341,590.79
Bill Pmt -Check 06/23/2017 7631 Golden Malted x -400.00 -341,990.79
Bill Pmt -Check 06/23/2017 7629 Bindi x -394.98 -342,385.77
Check 06/23/2017 100957 Payroll x -328.81 -342,714.58
Page 5

Unaudited Statement
12:52 PM
07/917

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail
New Checking Signature 4241, Period Ending 06/30/2017

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100986
100991
100978
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100956
100955
100992
100979
101001
100983
100945
100963
100949
100971
100985

101004
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Name clr Amount
Payroll Xx -300.35
ADP Payroll Fees X -234.48
Payroll x -187.34
Payroll x -183.42
Merit Card X -165.01
Payroll X -157.05
ADP Tax Xx -110.81
Pat LaFrieda x -908.56
Jetro Cash & Carry xX -590.00
Empire merchants Xx -10,001.60
Jetro Cash & Carry Xx -1,750.00
Kseniya Lozano X -838.00
Payroll x -724.99
Payroll X -719,51
Payroll X -681.29
Payroll Xx -649.78
Pat LaFrieda Xx -627.96
Payroll xX -548.40
Payroll Xx -540.80
Payroll X -527.74
Payroll x -501.69
Payroll xX -488.66
Payroll X -484.01
Payroll xX -469.87
Payroll X -466.66
Payroll x -461.91
Payroll xX -453.38
Payroll Xx -452.47
Payroll X -445.20
Payroll x -444,57
Payroll xX 429.51
Payroll Xx -424.93
Payroll x 424,59
Payroll Xx -423.66
Payroll x -374.13
Payroll x -352.92
Payroll X -337.57
Payroll X -333.91
Payroll x -291.51
Payroll Xx -276.21
Payroll X -204.02
Payroll Xx -188.40
Payroll Xx -124.56
Payroll X -118.27
Merit Card x -41.89
Amex xX -2,500.00
Payroll x -803.19
Payroll x -722.70
Payroll Xx -711.52
Payroll Xx -614.73
Payroll Xx -546.18
Payroll xX -506.32
Payroll Xx -495.77
Payroll Xx -495.60
Payroll x -473.30
Payroll Xx -450.16
Payroll Xx -396.86
Payroll xX -389.27
Payroll X -243.29
Payroll xX -206.64
Payroll x -173.67
ADP Tax Xx -147.21
Payroll x -125.87
Empire merchants Xx -9,976.43
Southern Wine and ... x -6,438.34
Payroll x -444,13
Payroll X -313.37
Payroll Xx -301.76

Page 6
Unaudited Statement

Balance

-343,014.93
-343,249.41
-343,436.75
-343,620.17
-343,785.18
-343,942.23
-344,053.04
-344,961.60
-345,551.60
-355,553.20
-357,303.20
-358, 141.20
-358,866.19
-359,585.70
-360,266.99
-360,916.77
-361,544.73
-362,093.13
-362,633.93
-363, 161.67
-363,663.36
-364, 152.02
-364,636.03
-365, 105.90
-365,572.56
-366,034.47
-366,487.85
-366,940.32
-367,385.52
-367 830.09
-368,259.60
-368, 684.53
-369, 109.12
-369,532.78
-369,906.91
-370,259.83
-370,597.40
-370,931.31
-371,222.82
-371,499.03
-371,703.05
-371,891.45
-372,016.01
-372, 134.28
-372,176.17
-374,676.17
-375,479.36
-376, 202.06
-376,913.58
-377,528.31
-378,074.49
-378,580.81
-379,076.58
-379,572.18
-380,045.48
-380,495.64
-380,892.50
-381,281.77
-381,525.06
-381,731.70
-381,905.37
-382,052.58
-382,178.45
-392,154.88
-398,593.22
-399,037.35
-399,350.72
-399,652.48
Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

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07/19/17 Reconciliation Detail
New Checking Signature 4241, Period Ending 06/30/2017
Type Date Num Name Cir Amount Balance

Check 06/29/2017 101017 — Payroll x -300.96 -399,953.44
Check 06/29/2017 X -42.49 -399,995.93
Check 06/29/2017 X -25.00 -400,020.93
Check 06/30/2017 ConEdison Xx -2,500.00 -402,520.93
Check 06/30/2017 Time Warner Cable x -664.42 -403,185.35
Check 06/30/2017 101036 Payroll X -389.60 -403,574.95
Check 06/30/2017 101037 ~— Payroll x -377.63 -403,952.58
Check 06/30/2017 x -292.92 -404,245.50
Check 06/30/2017 101000 —— Payroll X -181.27 -404,426.77
Check 06/30/2017 101043 Payroll x -127.95 -404,554.72
Check 06/30/2017 Xx -100.00 -404,654.72
Total Checks and Payments -404,654.72 -404,654.72

Deposits and Credits - 36 items
Deposit 06/01/2017 Merit Card X 724.71 724.71
Deposit 06/02/2017 Merit Card X 5,499.41 6,224.12
Deposit 06/02/2017 Xx 11,500.00 17,724.12
Deposit 06/05/2017 X 1,863.23 19,587.35
Deposit 06/05/2017 Xx 5,006.54 24,593.89
Deposit 06/05/2017 X 50,305.65 74,899.54
Deposit 06/06/2017 X 3,600.00 78,499.54
Deposit 06/06/2017 X 40,000.00 88,499.54
Deposit 06/07/2017 Xx 10,487.90 98,987.44
Deposit 06/08/2017 X 349.57 99,337.01
Deposit 06/08/2017 x 5,000.00 104,337.01
Deposit 06/08/2017 X 5,841.81 110,178.82
Deposit 06/09/2017 x 3,000.00 113,178.82
Deposit 06/09/2017 X 7,314.43 120,493.25
Deposit 06/12/2017 x 4,249.24 124,742.49
Deposit 06/12/2017 X 34,223.03 158,965.52
Deposit 06/13/2017 Xx 5,000.00 163,965.52
Deposit 06/14/2017 X 29,111.06 193,076.58
Deposit 06/15/2017 Xx 4,435.24 197,511.82
Deposit 06/16/2017 X 4,251.58 201,763.40
Deposit 06/16/2017 Xx 9,000.00 210,763.40
Deposit 06/19/2017 X 3,673.86 214,437.26
Deposit 06/19/2017 x 15,000.00 229,437.26
Deposit 06/19/2017 X 39,777.01 269,214.27
Deposit 06/20/2017 Merit Card x 21,661.79 290,876.06
Deposit 06/21/2017 Merit Card x 1,280.51 292,156.57
Deposit 06/21/2017 x 8,000.00 300,156.57
Deposit 06/22/2017 Merit Card X 3,846.10 304,002.67
Deposit 06/23/2017 Merit Card Xx 3,174.17 307,176.84
Deposit 06/26/2017 Merit Card x 5,310.73 312,487.57
Deposit 06/26/2017 Merit Card X 42,367.95 354,855.52
Deposit 06/27/2017 Merit Card Xx 19,370.68 374,226.20
Deposit 06/28/2017 Merit Card X 2,422.43 376,648.63
Deposit 06/28/2017 x 10,000.00 386,648.63
Deposit 06/29/2017 Xx 4,485.37 391,134.00
Deposit 06/30/2017 Xx 5,823.73 396,957.73
Total Deposits and Credits 396,957.73 396,957.73
Total Cleared Transactions -7,696.99 -7,696.99
Cleared Balance -7,696.99 156.43

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Unaudited Statement
12:52 PM
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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Uncleared Transactions
Checks and Payments - 76 items

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Bradley, Jesenia
Cmeron, Jermaine
Wells, Tatasha Lee
Cuascut, Ayja
Bermudez, Cesar
Rivera, Leonardo
Rodriguez, Kiana
Bowater-Skelly, Aedn

Foster, Andrew
Rodriguez, Kiana

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Block, Amber

Traore, Justin

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Wilson, Adriel

Clyne, Kimberly
Petrosyants, Robert
Zamboni, Cosmin
THOMAS, PAUL
McCulloch, Courtney
Gbadamassi, Justin
Pat LaFrieda

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Shaw, Prema
Abrorov, Djamshed
Mamiacheva, Taisia
Wong, Channelle
McCulloch, Courtney
Gbadamassi, Justin
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Joyce Beer Gas
Manhattan Beer

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Page 8
Unaudited Statement

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Amount

 

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-1,115.11
-1,384.32
-1,526.72
-1,728.72
-2,104.90
-2,5414.33
3,541.33
-3,759.16
-3,931.71
-4,046.92
-4,086.33
4,772.90
-5,167.90

-11,167.90
-11,506.45
-12,193.02
-20,634.73
-22,134.73
-22,634.73
-23,063.23
-23,282.66
-23,448.86
-27,000.86
-27,161.86
-30,488.07
-36,348.61
-37,562.46
-38,365.65
-39,030.17
-39,465.17
-39,894.66
-40,319.61
-40,792.55
-41,052.11
-41,506.11
-41,669.42
-42,154.38
-42,565.29
~42,942,29
-43,225.08
-43,473.02
-43,676.56
-45,615.56
-45,810.56
~-46,806.31
-47,188.31
-51,630.31
-52,911.31
-53,991.31
-54,791.34
-55,182.11
-55,247.11
-56,997.11
-57,772.11
-58,272.11
-58,666.45
-68,906.20
-59,145.95
-60,295.95
-61,445.95
-62,220.95
-62,720.95
-63,020.95
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017
Reconciliation Detail

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Total Checks and Payments

Deposits and Credits - 12 items

Check

Deposit

Deposit
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General Journal
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General Journal

Total Deposits and Credits

Total Uncleared Transactions

Register Balance as of 06/30/2017

New Transactions

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Date Num Name Clr Amount Balance
06/30/2017 004793 ~—sA.. Refrigiration 1,437.13 -70,784.08
06/30/2017 7659 Out of The Blue Wh... -1,284.11 -72,068.19
06/30/2017 7656 Multi-Flow Industries -1,078.49 -73,146.68
06/30/2017 7650 AUTO-CHLOR SYS... M -892.18 -74,038.86
06/30/2017 7652 ELIS BREAD -572.60 -74,611.46
06/30/2017 7657 Northern Shore Linen -501.15 -75,112.61
06/30/2017 7653 Golden Malted -400.00 -75,512.61
06/30/2017 126 Garcia, Lusmary -229.85 -75,742.46
06/30/2017 7651 Bindi -202.95 -75,945.41
06/30/2017 7654 Joyce Beer Gas M -200.00 -76,145.41

-76,145.41 -76,145.41

04/13/2017 7333 0.00 0.00
05/19/2017 1,800.00 1,800.00
05/23/2017 20,000.00 21,800.00
06/06/2017 109 THOMAS, PAUL 424.95 22,224.95
06/06/2017 111 Zamboni, Cosmin 429.49 22,654.44
06/06/2017 108 Petrosyants, Robert 435.00 23,089.44
06/06/2017 106 Clyne, Kimberly 664.52 23,753.96
06/06/2017 110 Wilson, Adriel 803.19 24,557.15
06/06/2017 107 Doucoure, Mohamed 1,213.85 25,771.00
06/06/2017 105 1,863.23 27,634.23
06/30/2017 118R zon, ibraham 119.41 27,753.64
06/30/2017 117 54,829.12 82,582.76
82,582.76 82,582.76

6,437.35 6,437.35

-1,259.64 6,593.78

Checks and Payments - 369 items

07/01/2017 7842 Robert lannucci and ... , -5,362.50 -5,362.50
07/01/2017 007649 = Jetro Cash & Carry ‘ -522.00 -5,884.50
07/03/2017 . -8,000.00 -13,884.50
07/03/2017 7644 Jetro Cash & Carry " -1,490.00 -15,374.50
07/03/2017 101056 -1,213.85 -16,588.35
07/03/2017 100990 -1,213.84 -17,802.19
07/03/2017 101023 -706.95 -18,509.14
07/03/2017 101040 -664.51 -19,173.65
07/03/2017 101059 -645.70 -19,819.35
07/03/2017 101035 -624.47 -20,443.82
07/03/2017 101018 -539.70 -20,983.52
07/03/2017 101063 -524.19 -21,507.71
07/03/2017 100946 -479.02 -21,986.73
07/03/2017 101042 -469.86 -22,456.59
07/03/2017 101006 -442.43 -22,899.02
07/03/2017 101061 -425.08 -23,324.10
07/03/2017 101033 -421.15 -23,745.25
07/03/2017 101012 -404.02 -24,149.27
07/03/2017 101011 -393.16 -24,542.43
07/03/2017 101031 -369.16 -24,911.59
07/03/2017 101027 -319.78 -25,231.37
07/03/2017 101002 -211.87 -26, 443.24
07/03/2017 101069 -211.03 -25,654.27
07/03/2017 101016 -206.22 -25,860.49
07/03/2017 101008 -200.80 -26,061.29
07/03/2017 101065 -196.41 -26,257.70
07/03/2017 101057 ~192.51 -26,450.21
07/03/2017 101022 -170.83 -26,621.04
07/03/2017 101048 -18.56 -26,639.60
07/05/2017 Fang Realty . -16,573.18 -43,212.78
07/05/2017 7645 Jetro Cash & Carry . -6,790.00 -50,002.78
07/05/2017 7643 Pat LaFrieda ® 1,058.22 -51,061.00
07/05/2017 Marclynn Sonnier ‘ -720.56 ~51,781.56
07/05/2017 7554 Balter Sales Compa... e -684.12 -52,465.68

Bill Pmt -Check

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Unaudited Statement
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Prime Six Inc DBA Woodland 2017

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12:52 PM
07/49/17 Reconciliation Detail
New Checking Signature 4241, Period Ending 06/30/2017
Type Date Num Name Cir Amount Balance
Check 07/05/2017 7672 Kseniya Lozano . -651.00 -53,116.68
Check 07/05/2017 101047 -630.95 -§3,747.63
Bill Pmt -Check 07/05/2017 Manhattan Beer . -624.00 -54,371.63
Check 07/05/2017 101054 -600.51 -54,972.14
Check 07/05/2017 101053 -593.28 -55,565.42
Check 07/05/2017 101009 -§91.43 -56,156.85
Check 07/05/2017 101067 -544.60 -56,701.45
Check 07/05/2017 101064 -527.19 -57 228.64
Bill Pmt -Check 07/05/2017 7661 PORTER . -500.00 -57,728.64
Bill Pmt -Check 07/05/2017 7671 PORTER ‘ -500.00 -58,228.64
Check 07/05/2017 101058 -479.46 -58,708.10
Check 07/05/2017 100975 -471.78 -59,179.88
Check 07/05/2017 101060 -471.15 -59,651.03
Check 07/05/2017 101029 -438.46 -60,089.49
Check 07/05/2017 101055 -436,99 -60,526.48
Check 07/05/2017 101062 -424.95 -60,951.43
Check 07/05/2017 101007 -418.78 -61,370.21
Check 07/05/2017 101025 -417.02 -61,787.23
Check 07/05/2017 101051 -410.42 -62,197.65
Check 07/05/2017 101010 -397.61 -62,595.26
Check 07/05/2017 101015 -379.70 -62,974.96
Check 07/05/2017 101049 -368.53 -63,343.49
Check 07/05/2017 100984 -357,87 -63,701.36
Check 07/05/2017 101045 -343.99 -64,045.35
Check 07/05/2017 101014 -331.86 -64,377.21
Check 07/05/2017 101020 -287.03 -64,664.24
Check 07/05/2017 101038 -263.60 -64,927.84
Check 07/05/2017 101034 -260.53 -65, 188,37
Check 07/05/2017 100944 -232.57 -65,420.94
Check 07/05/2017 100970 -191.51 -65,612.45
Bill Pmt -Check 07/05/2017 7641 Pat LaFrieda : -183.60 -65,796.05
Check 07/05/2017 101030 -160.20 -65,956.25
Check 07/05/2017 101066 -156.51 -66,112.76
Check 07/05/2017 . -139.84 -66,252.60
Check 07/05/2017 101052 -132,20 -66,384.80
Check 07/05/2017 ‘ -25.00 -66,409.80
Bill Pmt -Check 07/06/2017 Southern Wine and ... : -1,971.88 -68,381.68
Check 07/06/2017 101070 " -724.29 -69,105.97
Check 07/06/2017 101041 . -614,72 -69,720.69
Check 07/06/2017 7713 : -421.88 -70,142.57
Check 07/06/2017 7705 “ -391.04 -70,533.61
Check 07/06/2017 7709 . -382.95 -70,916.56
Bill Pmt -Check 07/06/2017 7766 Kseniya Lozano : -337.00 -71,253,56
Check 07/06/2017 7706 * -324.80 -71,578.36
Check 07/06/2017 7727 . -305.07 -71,883.43
Check 07/06/2017 101028 : -267.08 -72,150.51
Check 07/06/2017 7729 Sonnier., Marclynn -239.98 -72,390.49
Check 07/06/2017 7699 . -187.22 -72,577.71
Bill Pmt -Check 07/06/2017 7664 Tommy's Window Cl... . -163.25 -72,740.96
Bill Pmt -Check 07/07/2017 7749 MAS Security Assoc... -4,572.00 -77,312.96
Bill Pmt -Check 07/07/2017 7753 OREL PRODUCE,|INC -3,154.00 -80,466.96
Bill Pmt -Check 07/07/2017 7660 242 Wood Food M -1,500.00 -81,966.96
Bill Pmt -Check 07/07/2017 7752 Out of The Blue Wh... * -1,235.00 -83,201.96
Check 07/07/2017 7716 ‘ -750.15 -83,952.11
Bill Pmt -Check 07/07/2017 7750 Multi-Flow Industries . -744.14 -84,696.25
Bill Pmt -Check 07/07/2017 7751 Northern Shore Linen : -502.66 -85,198.91
Bill Pmt -Check 07/07/2017 7748 Golden Malted . -400.00 -85,598.91
Bill Pmt -Check 07/07/2017 7746 Bindi : -331.15 -85,930.06
Bill Pmt -Check 07/07/2017 7668 Aziz Compore . -330,62 -86,260.68
Bill Pmt -Check 07/07/2017 7TAT ELIS BREAD . -321.20 -86,581.88
Check 07/07/2017 . -286.44 -86,868.32
Check 07/07/2017 7722 : -220.09 -87,088.41
Check 07/07/2017 7684 . -198.00 -87,286.41
Check 07/07/2017 7723 : -172.43 87,458.84
Check 07/07/2017 f -50.00 -87,508.84
Bill Pmt -Check 07/08/2017 7662 Jetro Cash & Carry ‘ -770.00 -88,278.84
Check 07/10/2017 ‘ -8,000.00 -96,278.84
Bill Pmt -Check 07/10/2017 Empire merchants f -7,352.82 -103,631.66

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Unaudited Statement
Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Doc 44 Filed O//iz0/Lf Entered Ofi20/1f LoltcolOe

 

 

12:52 PM
07/19/17 Reconciliation Detail
New Checking Signature 4241, Period Ending 06/30/2017
Type Date Num Name Clr Amount Balance
Bill Pmt -Check 07/10/2017 7754 Jetro Cash & Carry . -1,905.00 -105,536.66
Check 07/10/2017 ‘ -1,045.20 -106,581.86
Check 07/10/2017 7704 ‘ -748.58 -107,330.44
Bill Pmt -Check 07/10/2017 7755 Pat LaFrieda . -646.07 -107,976.51
Check 07/10/2017 7736 ‘ -606.71 -108,583.22
Check 07/10/2017 101032 ‘ -580.03 -109, 163.25
Check 07/10/2017 7733 = -576.00 -109,739.25
Check 07/10/2017 7735 ‘ -565.00 -110,304.25
Check 07/10/2017 7737 ‘ -529.34 -110,833.59
Check 07/10/2017 7691 M -506.50 -111,340.09
Check 07/10/2017 7738 " -472,34 -111,812.43
Check 07/10/2017 7728 ‘ -468.40 -112,280.83
Check 07/10/2017 7674 . -436.82 -112,717.65
Check 07/10/2017 7718 -433.96 -113,151.61
Check 07/10/2017 7703 ‘ -427.24 -113,578.85
Check 07/10/2017 7732 . -349.17 -113,928.02
Check 07/10/2017 101068 -347.09 ~114,275.11
Check 07/10/2017 7704 ‘ -310.92 -114,586.03
Check 07/10/2017 7741 . -267.10 -114,853.13
Check 07/10/2017 7675 " -225.38 -115,078.51
Check 07/10/2017 7700 . -181.18 -115,259.69
Check 07/10/2017 7721 : -169.97 -115,429.66
Check 07/10/2017 101026 ‘ -126.66 -115,556.32
Bill Pmt -Check 07/11/2017 Empire merchants . -10,754.30 -126,310.62
Check 07/11/2017 7726 : -1,213.85 -127,524.47
Check 07/11/2017 7730 -660.92 -128, 185.39
Check 07/11/2017 7731 ‘ -614.73 -128,800.12
Check 07/11/2017 7724 ® -694.10 -129,394,22
Check 07/11/2017 7739 ‘ -564.71 -129,958.93
Check 07/11/2017 7711 . -516.05 -130,474.98
Check 07/11/2017 7693 ° -510.76 -130,985.74
Check 07/11/2017 7740 . -503,90 -131,489.64
Check 07/11/2017 7695 . -473,90 -131,963.54
Check 07/11/2017 7714 $ -473.65 -132,437.19
Check 07/11/2017 7725 . -467.44 -132,904.63
Check 07/11/2017 7696 . -464.79 -133,369.42
Check 07/11/2017 7719 . -456.76 -133,826.18
Paycheck 07/11/2017 7838 Shaw., Prema " -419.79 -134,245.97
Check 07/11/2017 7685 ‘ -383.09 -134,629.06
Check 07/11/2017 7681 ° -365.25 -134,994.34
Check 07/11/2017 7744 ® -353.10 -135,347.41
Check 07/11/2017 101021 -349.60 -135,697.01
Check 07/11/2017 7692 ‘ -339.56 -136,036.57
Check 07/11/2017 7698 . -335.62 -136,372.19
Check 07/11/2017 7679 . -335.49 -136,707.68
Check 07/11/2017 7688 ~-268.45 -136,976.13
Check 07/11/2017 100885 ‘ -246.95 -137,223.08
Paycheck 07/11/2017 7843 Martinez, Naomi -236.98 -137,460.06
Paycheck 07/11/2017 7836 Piccolo., James : -212.21 -137,672.27
Check 07/11/2017 7715 " -196.41 -137,868.68
Check 07/11/2017 7708 . -182.72 -138,051.40
Check 07/11/2017 7720 : -181.89 -138,233.29
Paycheck 07/11/2017 7837 Rodriguez., Zoey f -132.59 -138,365.88
Check 07/11/2017 7697 . -120.97 -138,486.85
Check 07/11/2017 . -25.00 -138,511.85
Bill Pmt -Check 07/12/2017 7845 Jetro Cash & Carry -6,487.00 -144,998.85
Check 07/12/2017 Southern Wine and ... M -3,966.19 -148,965.04
Bill Pmt -Check 07/12/2017 7846 Master Fire Systems... -1,321.59 -150,286.63
Paycheck 07/12/2017 7772 Doucoure., Mohamed f. -1,213.50 -151,500.13
Bill Pmt -Check 07/12/2017 Pat LaFrieda 1,152.85 -152,652,98
Paycheck 07/12/2017 7942 Yamazaki., Pedro M -1,008.56 -153,661.54
Bill Pmt -Check 07/12/2017 7756 ROHAN LONGFORD 7 -850.00 -154,511.54
Paycheck 07/12/2017 7794 Sonnier., Marclynn * -723.86 -155,235.40
Paycheck 07/12/2017 7782 Kone., ldrissa * -706.62 -155,942.02
Paycheck 07/12/2017 7806 Tapsoba, Rasmane * -706.50 -156,648.52
Paycheck 07/12/2017 7863 Kandioura., Barry -688.93 -157,337.45
Paycheck 07/12/2017 7777 Kabore., Madi : -684,09 -158,021.54
Check 07/12/2017 7690 -659.40 -158,680.94
Page 11

Unaudited Statement
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07/19/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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401019
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Name

Konate., Abdel
Petrosyants., Robert
Morales., Diego
Castillo., Alberto
Keita., Cheik
Marvelle., Adams
McCulloch., Courtney
Traore., Drissa
Wandaogo., Abdoul
PORTER

PORTER
Monterroso., Jamie
Clyne, Jonathan
Zamboni., Cosmin
Toure., Malick
Mrani., Mouna

Clyne., Kimberly
Palma., Ceballos Luis
Carousel Checking
Ndiaye, Pape
Mcleod., Herman
Hoo-Fong., Paul
Compoare., Aziz
Rodriguez., Anibal
Thomas., Paul
Seepersaud., Amanda
Obrian, Scott
OQuedraogo., Ismael
Garcia., Anyely

Compaore., Saidou
Chung., Rwanda
Foster., Andrew
Kigan., Joseph A
Aguaiza., Luis
Armanov., Eric
Bailey., Ariana
Mddidarul., Alam
Santana., Indismel
Block., Amber K
Honore., Mikail
James., Eric

Roye., Chelsea

Felix., Garison
Sanago., Youssouf
Murphy., Joshua
Clemons., Pierra
Moldovan., Amanda
NYC Department of ...
Bowater-Skelly., Aedn
Sarr, Abdou

Zida, Maomet
Fiumefreddo., Audra
Mosley., Tarren
Scott., Sean

Wong., Channelle
Birch., Brittany
Floyd., Julissa

Roque., Jose
Kinda, Aime
Giles., Kaisey

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Unaudited Statement

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Amount Balance
-632.86 -159,313.80
-611.51 -159,925.31
-609.14 -160,534.45
-581.29 -161,115.74
-547.64 -161,663.38
-524.74 -162,188.12
-§19.63 -162,707.75
-513.57 -163,221.32
-507.31 -163,728.63
-500.00 -164,228.63
-500.00 -164,728.63
-493.72 -166,222.35
-483.20 -165,705.55
-469.42 -166,174.97
-467.49 -166,642.46
-460.13 -167,102.59
-459.33 -167,561.92
-453.59 -168,015.51
-451.67 -168,467.18
-445.94 -168,913.12
-438.32 -169,351.44
-433.48 -169,784.92
-433.47 -170,218.39
-432.52 -170,650.91
-431.22 -171,082.13
-424.75 -171,506.88
-420.12 -171,927.00
-412.96 -172,339.96
-402.71 -172,742.67
-398.93 -173,141.60
-392.60 -173,534.20
-385,55 -173,919.75
-383.17 -174,302.92
-381.50 -174,684.42
-378.24 -175,062.66
-373.85 -175,436.51
-360.67 -175,797.18
-356.14 -176,153.32
-351.85 -176,505.17
-341.45 -176,846.62
-338.44 -177,185.06
-336.35 -177,521.41
-328,98 -177,850.39
-326.36 -178,176.75
-322.98 -178,499.73
-316.52 -178,816.25
-312,59 -179,128.84
-289.81 -179,418.65
-284.53 -179,703.18
-283.71 -179,986.89
-280.00 -180,266.89
-277.77 -180,544.66
-264.69 -180,809.35
-258.03 -181,067.38
-242.54 -181,309.92
-234.64 -181,544.56
-232.43 -181,776.99
-232.19 -182,009.18
-211.94 -182,221.12
-208.58 -182,429.70
-196,52 -182,626.22
-179.25 -182,805.47
-166.53 -182,972.00
-161.69 -183,133.69
-146.93 -183,280.62
-146.76 -183,427.38
-146.20 -183,573.58
-145.21 -183,718.79
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07/19/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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Type Date Num
Paycheck 07/12/2017 7774
Paycheck 07/12/2017 7795
Paycheck 07/12/2017 7801
Paycheck 07/12/2017 7820
Paycheck 07/12/2017 7803
Check 07/12/2017 7686
Check 07/12/2017
Paycheck 07/13/2017 7944
Paycheck 07/13/2017 7947
Paycheck 07/13/2017 7945
Paycheck 07/13/2017 7948
Paycheck 07/13/2017 7946
Check 07/13/2017 7821
Bill Pmt -Check 07/13/2017 7757
Bill Pmt -Check 07/14/2017 7759
Bill Pmt -Check 07/14/2017 7861
Bill Pmt -Check 07/14/2017 7862
Bill Pmt -Check 07/14/2017 7859
Bill Pmt -Check 07/14/2017 7758
Check 07/14/2017 7868
Paycheck 07/14/2017 7867
Bill Pmt -Check 07/14/2017 7857
Bill Pmt -Check 07/14/2017 7860
Bill Pmt -Check 07/14/2017 7855
Check 07/14/2017 7808
Bill Pmt -Check 07/14/2017 7856
Bill Pmt -Check 07/14/2017 7763
Check 07/14/2017
Check 07/17/2017
Bill Pmt -Check 07/17/2017 7642
Check 07/17/2017 7830
Check 07/17/2017 7805
Check 07/17/2017 7807
Check 07/17/2017 7822
Check 07/17/2017 7811
Check 07/17/2017 7743
Check 07/17/2017 7687
Paycheck 07/17/2017 7943
Check 07/17/2017 100950
General Journal 07/18/2017 131
General Journal 07/18/2017 122
General Journal 07/18/2017 123
General Journal 07/18/2017 133
General Journal 07/18/2017 130
General Journal 07/18/2017 119
General Journal 07/18/2017 127
General Journal 07/18/2017 121
General Journal 07/18/2017 120
General Journal 07/18/2017 132
General Journal 07/18/2017 129
Check 07/18/2017 7742
Check 07/18/2017 101044
General Journal 07/18/2017 125
Check 07/18/2017 7676
Check 07/18/2017 7710
General Journal 07/18/2017 128
General Journal 07/18/2017 124
General Journal 07/18/2017 118
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Garcia, Lusmary .
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Zon, Ibrahim °
Lenard, Nikia S 7
ZAVGARDONIAIA., ... :

Bowater-Skelly., Aedn
Ouedraogo., Ismael
Compoare., Aziz
Rysyk., Lyubomyr
Foster., Andrew

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MAS Security Assoc...
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Doucoure., Mohamed
Rysyk., Lyubomyr
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Northern Shore Linen
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Dixon, Shakeem

Foster, Andrew
Kabore, Madi
Kandioura, Barry
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Ouedraogo, Ismael
Shaw, Prema
Garcia, Anyely
Monterroso, Jamie
Lenard, Nikia
Compoare., Aziz
Rysyk, Lyubomyr

Block, Amber

Block., Amber K
Giles., Kaisey
Kinda, Aime

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Doucoure., Mohamed
Castillo., Alberto
Morales., Diego
Yamazaki., Pedro
Kone., Idrissa
Sonnier., Marclynn
Konate., Abdel
Kabore., Madi
Kandioura., Barry
Honore., Mikail

Page 13
Unaudited Statement

 

Amount Balance
-143.92 -183,862.71
-143.81 -184,006.52
-138.39 -184, 144.91
-122.13 ~184,267.04
-106.28 -184,373.32
-103.15 -184,476.47

-25.00 -184,501.47
-636.28 -185,137.75
-607.02 -185,744.77
-480.97 -186,225.74
-466.64 -186,692.38
-449,12 -187,141.50
-378.24 -187,519.74
-106.00 -187,625.74

-5,010.00 -192,635.74
-1,735.00 -194,370.74
-1,164.50 -195,535.24
-1,153.71 -196,688.95
-1,025.00 -197,713.95
-774.00 -198,487.95
-534,28 -199,022.23
-400.00 -199,422.23
-308.03 -199,730.26
-282.80 -200,013.06
-264.69 -200,277.75
-206.89 -200,484.64
~113.00 -200,597.64
-100.00 -200,697.64
-33,869.13 -234,566.77
-1,645.00 -236,211.77
-483.20 -236,694.97
-467.49 -237, 162.46
-420.12 -237,582.58
-328.98 -237,911.56
-322.98 -238,234.54
-256.77 -238,491.31
-254.61 -238, 745.92
-206.13 -238,952.05

-54.56 -239,006.61
-762.56 -239, 769.17
-689.55 -240,458.72
-688.92 -241,147.64
-645.15 -241,792.79
-614.49 -242,407.28
-597.93 -243,005.21
-559.49 -243,564.70
-553.51 -244,118.21
-514.38 -244, 632.59
-484.42 -245,117.01
-476.72 -245, 593.73
-424,95 -246,018.68
-411.45 -246,430.13
-367.71 -246,797.84
-344.05 -247,141.89
-252.77 -247 394.66
-192.68 -247 587.34
-161.82 -247,749.16
-119.41 -247 868.57

-1,213.49 -249,082.06
-793.07 -249,875.13
-784.70 -250,659.83
-782.07 -251,441.90
-746.48 -252,188.38
-723.88 -262,912.26
-691.22 -253,603.48
-675.76 -264,279,24
-668.35 -254,947.59
-658.86 -255,606.45
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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Date Num Name
07/19/2017 7895 Tapsoba, Rasmane
07/19/2017 7917 Mcleod., Herman
07/19/2017 7962 Shaw., Prema
07/19/2017 7924 Petrosyants., Robert
07/19/2017 7869 Armanov., Eric
07/19/2017 7960 Rodriguez., Zoey
07/19/2017 7935 Wandaogo., Abdoul
07/19/2017 7882 Kigan., Joseph A
07/19/2017 7887 Ouedraogo., Ismael
07/19/2017 7952 Garcia., Anyely
07/19/2017 7958 Monterroso., Jamie
07/19/2017 7880 Hoo-Fong., Paul
07/19/2017 7922 Mrani., Mouna
07/19/2017 7934 Traore., Drissa
07/19/2017 7883 McCulloch., Courtney
07/19/2017 7957 Lenard, Nikia S
07/19/2017 7911 Keita., Cheik
07/19/2017 7886 Ndiaye, Pape
07/19/2017 7891 Rysyk., Lyubomyr
07/19/2017 7937 Willsey, Stephanie
07/19/2017 7940 Zamboni., Cosmin
07/19/2017 7875 Compaore., Saidou
07/19/2017 7894 Seepersaud., Amanda
07/19/2017 7923 Obrian, Scott
07/19/2017 7896 Toure., Malick
07/19/2017 7878 Foster., Andrew
07/19/2017 7870 Bailey., Ariana
07/19/2017 7872 Chung., Rwanda
07/19/2017 7877 Felix., Garison
07/19/2017 7874 Clyne, Jonathan
07/19/2017 7965 Abrorov {2}, Djamshed
07/19/2017 7964 Aguaiza., Luis
07/19/2017 7871 Bowater-Skelly., Aedn
07/19/2017 7959 Piccolo., James
07/19/2017 7950 Block., Amber K
07/19/2017 7884 Mddidarul., Alam
07/19/2017 7893 Sarr, Abdou
07/19/2017 7876 Compoare., Aziz
07/19/2017 7888 Rodriguez., Anibal
07/19/2017 7889 Roque., Jose
07/19/2017 7873 Clemons., Pierra
07/19/2017 7881 James., Eric
07/19/2017 7885 Murphy., Joshua
07/19/2017 7928 Sanago., Youssouf
07/19/2017 7898 Zida, Maomet
07/19/2017 7897 ZAVGARDONIAIA., ...
07/19/2017 7951 Garcia, Lusmary
07/19/2017 7918 Moldovan., Amanda
07/19/2017 7936 Wells., Tatasha Lee
07/19/2017 7953 Giles., Kaisey
07/19/2017 7901 Birch., Brittany
07/19/2017 7956 Kinda, Aime
07/19/2017 7892 Santana., Indismel
07/19/2017 7916 Martinez, Naomi
07/19/2017 7905 Floyd., Julissa
07/19/2017 7921 Mosley., Tarren
07/19/2017 7926 Quinones, Abigail
07/19/2017 7961 Scott., Sean
07/19/2017 7890 Roye., Chelsea
07/19/2017 7963 Zon, Ibrahim
07/19/2017 7933 Taylor, Fabian
07/19/2017 7938 Wong., Channelle
07/19/2017 7932 Sylvestre., Amanda

Total Checks and Payments

Page 14
Unaudited Statement

Clr

Amount

-616.50
-602.79
-595.67
-590.23
-573.41
-669.12
-569.03
-557.88
-548.33
-542.88
-542.11
-536,94
-528.15
-522.18
-516.55
-509.73
-498.50
-490.70
-484.11
-471.92
-469.42
-468.83
-465.00
-459,08
-457.26
-455.99
-449.67
-439.48
-412.93
-409.25
-396.61
-396.32
-365.65
-364.65
-362.65
-333.92
-331.54
-331.33
-316.96
-305.22
-292.26
-283.48
-282.85
-249.95
-236.52
-235.49
-226.75
~208.48
-192,57
-188.65
-163.64
-158.41
-154.36
-153.71
-151.41
-138.44
-136.54
-123.75
-120.28
-115.75

-90.32

-78,21

-74,02

-278,520.78

Balance

-256,222.95
-256,825.74
-257,421.41
-258,011.64
-258,585.05
-259,154.17
-259,723.20
-260,281.08
-260,829.41
-261,372.29
-261,914.40
-262,451.34
-262,979.49
-263,501.67
-264,018.22
-264,527.95
-265,026.45
-265,517.15
-266,001.26
-266,473.18
-266, 942.60
-267,411.43
-267,876.43
-268 335.51
-268,792.77
-269,248.76
-269,698.43
-270,137.91
-270,550.84
-270,960.09
-271,356.70
-271,753,02
-272,118.67
-272,483,32
-272,845.97
-273,179.89
-273,511.43
-273,842.76
-274,159.72
-274,464.94
-274,757.20
-275,040.68
-275,323.53
-275,573.48
-275,810.00
-276,045.49
-276 272.24
-276,480.72
-276,673.29
-276,861.94
-277,025.58
-277, 183,99
-277,338.35
-277,492.06
-277,643.47
-277,781.91
-277,918.45
-278,042.20
-278, 162.48
-278,278.23
-278,368.55
-278,446.76
-278,520.78

-278,520.78
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Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 06/30/2017

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Type Date Num Name
Deposits and Credits - 18 items
Deposit 07/03/2017
Deposit 07/03/2017
Deposit 07/05/2017
Deposit 07/05/2017
Deposit 07/06/2017
Deposit 07/07/2017
Deposit 07/07/2017
Deposit 07/10/2017
Deposit 07/10/2017
Deposit 07/11/2017
Deposit 07/12/2017
Deposit 07/12/2017
Deposit 07/13/2017
Deposit 07/13/2017
Deposit 07/14/2017
Deposit 07/17/2017
Deposit 07/17/2017
Deposit 07/18/2017
Total Deposits and Credits
Total New Transactions
Ending Balance
Page 15

Unaudited Statement

Clr

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Amount

3,315.44
32,869.56
6,189.19
31,115.96
8,070.60
3,260.95
6,500.00
3,672.32
24,737.52
26,464.77
4,661.57
10,000.00
1,022.94
1,655.98
4,401.60
4,768.62
34,621.16
30,358.65

234,686.83
-43,833.95
-45,093.59

Balance

3,315.44
36,185.00
42,374.19
73,490.15
81,560.75
84,821.70
91,321.70
94,994.02

119,731.54
146,196.31
147,857.88
157,857.88
158,880.82
160,536.80
164,938.40
169,707.02
204,328.18
234,686.83

234,686.83
-43,833.95
-37,240.17
